                  UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF WISCONSIN

NATIONAL WILDLIFE REFUGE ASSOCIATION, et al.,
                   Plaintiffs,
      v.                                          No. 3:21-cv-00096-wmc
RURAL UTILITIES SERVICE, et al.,                  Consolidated with No. 3:21-cv-
                   Federal Defendants,            000306-wmc

AMERICAN TRANSMISSION COMPANY, LLC, et al.,
                   Intervenor-Defendants.
___________________________________
NATIONAL WILDLIFE REFUGE ASSOCIATION, et al.,
                   Plaintiffs,
      v.
UNITED STATES ARMY CORPS OF ENGINEERS, et al.,
                   Federal Defendants,

AMERICAN TRANSMISSION COMPANY, LLC, et al.,
                   Intervenor-Defendants.

           CO-OWNERS’ BRIEF ON REMEDY AND BRIEF IN SUPPORT OF
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   Pursuant to the Opinion and Order this Court issued on January 14, 2022 (ECF No. 175) (“Order”),

American Transmission Company LLC by its corporate manager ATC Management Inc., ITC Midwest

LLC, and Dairyland Power Cooperative (collectively, the “Co-owners”) submit this brief to address

“what additional relief, if any, may be appropriate, including suggested language to be included in a

final judgment.” Order at 44.

   In the Order, the Court granted summary judgment in favor of the Plaintiffs on their claims against

the U.S. Fish and Wildlife Service (“FWS”) and the Rural Utilities Service (“RUS”), but in favor of

the Federal Defendants and the Co-owners on Plaintiffs’ claims against the U.S. Army Corps of

Engineers (“Corps”). Specifically, the Court found that:

       1.      It was arbitrary and capricious for FWS to issue a Compatibility Determination and
               right-of-way permit (“ROW”) authorizing the Cardinal-Hickory Creek 345-kilovolt
               Transmission Line Project (“Project”) to cross the Upper Mississippi National Wildlife
               and Fish Refuge (“the Refuge”), Order at 23–32;

       2.      FWS cannot authorize the Project’s crossing through the Refuge through a land
               exchange—even though FWS has not acted on the Co-owners’ application for a land
               exchange, Order at 32–35;

       3.      The “purpose and need” statement in the final environmental impact statement (“EIS”)
               that RUS prepared for the Project does not comply with the National Environmental
               Policy Act, 42 U.S.C. § 4321 et seq. (“NEPA”), Order, at 35–41; and

       4.      The Corps’ Utility Regional General Permit (“URGP”) and Nationwide Permit 12
               (“NWP 12”), and the verifications issued thereunder, comply with NEPA, Order at 41–
               44.

   While the Co-owners agree with the Court’s holding on Plaintiffs’ claims against the Corps, the

Co-owners strongly disagree with the Court’s ruling on Plaintiffs’ claims against FWS and RUS. The

Court acted in excess of its jurisdiction by passing judgment on a land exchange that FWS has not even

authorized, violating the black letter, well-established principle of the Administrative Procedure Act

that federal courts only have authority to review final agency actions. In deciding that FWS’s decision

to issue the Compatibility Determination was arbitrary and capricious, the Court also unlawfully

substituted its own judgment for that of FWS and fundamentally misapplied the National Wildlife
                                                  1
Refuge System Act, 16 U.S.C. § 668dd et seq. (“Refuge Act”). Finally, the Court’s holding that the

EIS’s “purpose and need” statement was too narrow lacks support in fact and law: it relies on a single,

25-year old decision, Simmons v. United States Army Corps of Engineers, 120 F.3d 664 (7th Cir. 1997),

that is inapposite here; ignores decades of subsequent precedent from the Seventh Circuit and

elsewhere—including Protect Our Parks, Inc. v. Buttigieg, 10 F.4th 758, 763 (7th Cir. 2021)—holding

that federal agencies can accord substantial weight to the applicant’s preferences and goals; ignores the

important role and expertise that the Midcontinent Independent System Operator, Inc. (“MISO”)

brought to bear when MISO designed the Project as a critical component of the regional transmission

system, and that the Public Service Commission of Wisconsin (“PSCW”) and the Iowa Utilities Board

exercised when they approved it; and ignores the EIS’s well-supported conclusion that there simply are

no other feasible alternatives that can achieve the important economic, reliability, and public policy

objectives that this Project was designed to achieve.

   Given the flaws in the Order, this brief should not be construed as a concession that Plaintiffs are

entitled to any relief. The Co-owners reserve their right to appeal the Order and whatever final judgment

the Court issues, as the Co-owners disagree with most of the Court’s rulings on the merits of Plaintiffs’

claims and dispute that Plaintiffs are entitled to any relief. With that caveat, the Co-owners’ position

on the appropriate remedy is as follows:

   First, the Court should at most remand the Record of Decision (“ROD”), but should not vacate the

ROD or the Compatibility Determination. The ROD does not authorize the construction or operation

of the Project, but rather, reflects the conclusion of the NEPA process for the Project and enables the

Federal Defendants to authorize other, future actions, including the Project’s crossing of the Refuge

and RUS’s potential grant of financial assistance to Dairyland. However, FWS has revoked the

Compatibility Determination and ROW permit for the Project, mooting the Plaintiffs’ claims against



                                                   2
those authorizations and leaving the Court with no agency action to vacate. 1 Similarly, FWS has not

yet acted on the Co-owners’ application for a land exchange and Dairyland will not apply for financial

assistance from RUS (if it does at all) until 2023. With respect to the land exchange and application for

financial assistance from RUS, there simply is no final agency action for the Court to vacate.

    Second, the Court should not grant any injunctive relief against the Federal Defendants. The Court

rejected Plaintiffs’ claims against the Corps (concerning NWP 12 and the URGP), which means they

could only possibly obtain injunctive relief on their claims against FWS (related to the Refuge crossing)

and RUS (related to the EIS’s compliance with NEPA). But again, an injunction is unnecessary for the

rescinded Compatibility Determination and ROW, FWS has not yet acted on the proposed land

exchange, and Dairyland has not yet applied for funding from RUS. The Court has no jurisdiction to

entertain challenges to, let alone enjoin, agency actions that have not yet occurred.

    Third, the Court should not issue any injunction prohibiting construction of the Project, either

within the Refuge or along the remainder of the Project route outside the Refuge. Plaintiffs did not

request an injunction halting Project construction in its entirety and, as the Court previously

acknowledged, it lacks jurisdiction to enjoin construction along most of the line. See ECF No. 160, at

5–6. Indeed, the limited federal approvals the Co-owners obtained to construct the Project are

insufficient to federalize the entire Project. Moreover, Plaintiffs have failed to show that they are

entitled to such broad injunctive relief under Monsanto Co. v. Geerston Seed Farms, 561 U.S. 139

(2010): they have no record upon which they can demonstrate irreparable harm, the balance of

hardships weigh in favor of the Co-owners, and any injunction will likely delay the Project’s in-service

date and manifold economic, environmental, and reliability benefits, which is contrary to the public

interest.




1 Although the Co-owners filed an administrative appeal of FWS’s decision to revoke the Compatibility Determination and
ROW authorization, they have since withdrawn that appeal.
                                                          3
     Fourth, the Court should dissolve the preliminary injunction it issued in November 2021. See ECF

No. 160. The Court issued that injunction based on the Plaintiffs’ claims against the Corps related to

the URGP and the verifications issued thereunder. Now that the Court has ruled in the Federal

Defendants’ and Co-owners’ favor on those claims, it should dissolve the preliminary injunction (to

the extent it remains in place).

     Finally, whatever remedy the Court orders, the Co-owners move the Court to stay its final judgment

pending appeal or, at a minimum, issue an administrative stay for a defined period of time following

entry of the judgment (e.g., 21 days) so that the Co-owners may seek relief pending appeal with the

Seventh Circuit. The Co-owners have a high likelihood of success on appeal and will suffer irreparable

injury without a stay, while Plaintiffs will not suffer substantial injury if a stay issues. Moreover, staying

the Court’s final judgment will clearly benefit the public interest, which favors the delivery of low-

cost, reliable, and renewable energy to consumers in Wisconsin and neighboring states.

I.      THE COURT SHOULD (AT MOST) REMAND THE ROD, BUT SHOULD NOT
        VACATE THE ROD OR COMPATIBILITY DETERMINATION.

     This Court should, at most, remand the ROD to the agency for further analysis consistent with its

opinion, but should not vacate the ROD. Johnson v. U.S. Office of Personnel Mgmt., 783 F.3d 655, 663

(7th Cir. 2015) (“Although vacatur is the presumptive remedy for a violation of the Administrative

Procedure Act, courts have discretion to craft other remedies.”); see also Shafer & Freeman Lakes

Env’t Conservation Corp. v. FERC, 992 F.3d 1071, 1096 (D.C. Cir. 2021) (remanding without vacatur

FWS’s incidental take statement and FERC order because agencies might reach the same result after

redressing deficiencies, and vacatur would lead to disruptive consequences). Indeed, since vacatur is

fundamentally an equitable remedy, Ameritech Corp. v. Int’l Broth. of Elec. Workers, Local 21, 543




                                                      4
F.3d 414, 419 (7th Cir. 2008), a weighing of the equities is proper. See U.S. Bancorp Mortg. Co. v.

Bonner Mall P’ship, 513 U.S. 18, 26 (1994). 2

    Here, the Court need not vacate the ROD because there simply is no extant agency action related

to Plaintiffs’ claims for the Court to vacate. 3 The ROD does not itself authorize construction or

operation of the Project. Rather, it represents the conclusion of a NEPA process enabling other, future

actions. ROD007607. But those future actions cannot occur while the Court’s declaratory judgment

remains in place, making vacatur superfluous. With respect to RUS, the ROD only authorizes RUS’s

potential future grant of financial assistance to Dairyland to fund Dairyland’s nine percent ownership

interest in the Project. ROD007606–08. However, Dairyland will not even apply for funding from RUS

until 2023, at which time Project construction would be complete under the longstanding construction

schedule. Decl. of Jesse Beckendorf ¶¶ 9–10, ECF No. 90. 4

    Likewise, the Court need not vacate the Compatibility Determination and ROW permit for the

Project to cross the Refuge because FWS has revoked those authorizations, rendering them moot. 5 In

December 2019 and September 2020, FWS issued a Compatibility Determination and ROW

authorization for the Project to cross through the Refuge. ROD007568, ROD 007569. On March 1,

2021, the Co-owners applied for an amended ROW through the Refuge to accommodate concerns that

a Native American Tribe raised about the Project’s impacts to a burial mound near the Refuge during



2
  The APA provides that “[n]othing herein . . . affects . . . the power or duty of the court to dismiss any action or deny relief
on any other appropriate legal or equitable ground.” 5 U.S.C. § 702. According to the legislative history for this provision,
“[t]hese grounds include, but are not limited to, the following: (1) extraordinary relief should not be granted because of the
hardship to the defendant or the public (‘balancing of the equities’).” H.R. Rep. No. 94-1656, at *12, 94th Cong., 2d Sess.
1976, 1976 U.S.C.C.A.N. 6121, 6132 (emphasis added).
3
  The ROD does reflect the Corps’ decision to issue an easement for the Project’s crossing of lands that the Corps manages
or owns within the Refuge, see ROD007609–11, but Plaintiffs have not challenged that action in this case.
4
  As the Co-owners argued in their summary judgment brief, ECF No. 89, at 46–51, Plaintiffs lack standing to assert this
claim based on the Co-owners’ ability to complete the Project before the financing is extended and at the risk that financing
might not be so extended. Cf. Ctr. for Biological Diversity v. Exp.-Imp. Bank of the U.S., 894 F.3d 1005, 1014 (9th Cir.
2018) (no standing where “both Projects were already underway by the time funding from the Ex-Im Bank was authorized—
nearly halfway complete” and “the Projects’ joint venture partners possessed considerable financial resources, as did other
lenders in the capital markets . . . that would have supported the Projects.”).
5
  See ECF No. 93, at 45–48; ECF No. 115, at 5–11.
                                                               5
consultation with the Tribe under Section 106 of the National Historic Preservation Act. 6 See ECF No.

53-1, ECF No. 91-2. However, in July 2021, the Co-owners applied for a land exchange in lieu of the

ROW, ECF No. 53-2, and several weeks later, FWS revoked the Compatibility Determination and

ROW it initially issued in 2019 and 2020. ECF No. 69-1. Since FWS has revoked the Compatibility

Determination and ROW authorization for the Project, there is no longer any agency action for the

Court to vacate. See, e.g., Am. Wild Horse Preservation Campaign v. Salazar, 800 F. Supp. 2d 270,

275–76 (D.D.C. 2011) (dismissing as moot challenge to Bureau of Land Management decision for

managing wild horse population in Wyoming, where the agency rescinded the decision after complaint

was filed); Chihuahuan Grasslands All. v. Kempthorne, 545 F.3d 884 (10th Cir. 2008) (dismissing as

moot appeal involving Bureau of Reclamation sale of oil and gas leases on public land because all

leases in dispute were either never acquired or terminated, meaning there was “no continuing, present,

adverse effect for the purpose of granting injunctive relief and no substantial controversy of sufficient

immediacy and reality to warrant the issuance of a declaratory judgment.”); Sequoia Forestkeeper and

Earth Island Inst. v. U.S. Forest Serv., No. CV-F-07-1690, 2008 WL 5054100, at *8-11 (E.D. Cal. Nov.

19, 2008) (declining to terminate timber sale contracts where U.S. Forest Service had formally

suspended the contract pending supplemental review); League of Wilderness Defenders-Blue


6
  Plaintiffs filed their complaint challenging the January 2020 ROD on February 10, 2021—19 days before the Co-owners
applied for the amended ROW. The Court found that the timing of the application after Plaintiffs’ complaint was filed was
“suspicious[]” and cited it as a fact “strongly support[ing]” an inference that the Co-owners are attempting “to evade judicial
review.” Order at 9, 23. As the cover letter to the application explains, however, the application (which would have reduced
the impacted Refuge acreage by about 10 acres) came about after a meeting in July 2020—more than six months before
Plaintiffs filed their complaint—during which the Tribe expressed concerns about the Project’s original route passing over
a burial mound. ECF No. 53-1, at 2–3. As a result of this meeting and a follow-up site visit, the Co-owners and the Tribe
negotiated with two parties (a private landowner and the Iowa Natural Heritage Foundation) to obtain the necessary rights
to an alternative route that would alleviate the Tribe’s concerns about the line passing over a burial mound. Id. Securing
those property rights—a necessary predicate to the application for an amended right-of-way—took several months. As this
example illustrates, major infrastructure projects—particularly where the applicants diligently endeavor to reduce the
environmental impacts and footprints of those projects as designs are refined and implemented—often result in changes and
amendments throughout the design and implementation process. To assign nefarious motives based on these types of
changes creates perverse incentives for project applicants to view a permit not as one of many steps in their environmental
compliance, but rather, as the end of it. Moreover, the Co-owners always expected their application to culminate in a
decision by the agency that would be subject to review, belying the unsupported insinuation that they were somehow
attempting to evade review. See ECF No. 40, at 7 (May 2021 joint preliminary pretrial conference statement noting that
expected decision on amended ROW would allow Refuge-related claims to be litigated before work in Refuge began).
                                                              6
Mountains Biodiversity Project v. Smith, No. CV-04-1595, 2006 WL 3692535 (D. Or. Mar. 16, 2007)

(plaintiffs’ claims concerning post-fire logging salvage project in national forest were moot where FWS

withdrew its approval of the project and authorization for a new project in the same area would involve

new data, decisions, and public notice and comment and could subsequently be challenged in court);

ECF Nos. 89 at 52–55, 93 at 65–66 (citing cases recognizing that the repeal or expiration of agency

actions or permits generally moots challenges to those actions).

      Finally, regardless of the remedy the Court orders with respect to the Compatibility Determination

and ROW permit, it cannot vacate the land exchange. While the Co-owners have applied for a land

exchange, FWS has not taken final action with respect to that application. The mere fact that FWS

indicated a land exchange “is a potentially favorable alternative to the right-of-way permit” does not

mean FWS preordained its decision or has otherwise taken final action that the Court has the ability to

vacate. See infra Sections II(A)(2), III(A)(1). In short, since FWS has not taken final action on the

proposed land exchange, not only is that issue unripe for review, but there is also no agency action for

the court to vacate. Id.; cf. Wyo. Outdoor Council v. U.S. Forest Serv., 165 F.3d 43, 49–51 (D.C. Cir.

1999) (plaintiffs’ NEPA challenge to oil and gas leases on public lands was not ripe where Bureau of

Land Management had not actually issued any such leases).

II.      THE COURT SHOULD NOT ENTER ANY INJUNCTIVE RELIEF.

      An injunction is an extraordinary remedy that is not granted as a matter of right. See Monsanto, 561

U.S. at 165–66; Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). To obtain an injunction,

a plaintiff must demonstrate that (1) it has suffered an irreparable injury; (2) remedies at law, such as

monetary damages, are inadequate to compensate for that injury; (3) a remedy in equity is warranted,

considering the balance of hardships between the plaintiff and defendant; and (4) an injunction would

not disserve the public interest. Monsanto Co., 561 U.S. at 156–57. This test applies equally when a

plaintiff seeks a permanent injunction, or an injunction to remedy a NEPA violation. Id. at 157 (citing

                                                     7
Winter, 555 U.S. at 31–33); see also LAJIM, LLC v. Gen. Elec. Co., 917 F.3d 933, 943 (7th Cir. 2019)

(courts should apply “traditional equitable principles” when evaluating requests for injunctive relief

under environmental statutes). The burden is on the Plaintiffs to demonstrate that they are entitled to

injunctive relief: “[i]t is not enough for a court considering a request for injunctive relief to ask whether

there is good reason why an injunction should not issue; rather, a court must determine that an

injunction should issue under the traditional four-factor test set out above.” Monsanto, 561 U.S. at 158;

see also Weinberger v. Romero-Barcelo, 456 U.S. 305, 313 (1982) (“The grant of jurisdiction to ensure

compliance with a statute hardly suggests an absolute duty to do so under any and all circumstances,

and a federal judge sitting as a chancellor is not mechanically obligated to grant an injunction for every

violation of law.”) (citations omitted).

    If the Court believes Plaintiffs are entitled to injunctive relief, it has discretion to fashion a remedy,

but there are limitations: an injunction must be narrowly tailored to the specific harm alleged and must

provide only the relief to which Plaintiffs are entitled. See Smith v. Pollard, No. 16-cv-10, 2016 WL

5922320, at *2 (W.D. Wis. Oct. 11, 2016) (“Injunctive relief must be specific and narrowly tailored to

address only the specific risk of harm faced by the plaintiff.”); Lewis v. Casey, 518 U.S. 343, 357 (1996)

(“The [injunctive] remedy must of course be limited to the inadequacy that produced the injury in fact

that the plaintiff has established.”); Sierra Club v. U.S. Dep’t of Energy, 825 F. Supp. 2d 142, 153

(D.D.C. 2011) (“[T]he irreparable harm considered by the court must be caused by the conduct in

dispute and remedied by the relief sought.”). As mentioned, there is no rule requiring a blanket

injunction in cases involving a NEPA violation. N. Cheyenne Tribe v. Norton, 503 F.3d 836, 843 (9th

Cir. 2007) (Instead, at times “the equities demand a partial injunction.”).

    For the reasons discussed below, injunctive relief is not appropriate in the present case. First, this

Court cannot enjoin the Compatibility Determination and ROW permit because those actions are moot

(and, as explained below, Section II.B.1, declaratory relief affords Plaintiffs all the relief they need).

                                                      8
Second, the Court lacks jurisdiction to enjoin the Compatibility Determination and ROW permit, land

exchange, or RUS financing decision because those actions are either moot or non-final. Third, this

Court lacks jurisdiction to issue an injunction against Co-owners halting construction along the entire

length/route of the Project. Finally, under the four-factor test for injunctive relief, Plaintiffs cannot meet

their burden of showing that they are entitled to injunctive relief either within the Refuge itself (even

if there were any agency action authorizing construction work there) or along the entire Project route.

Monsanto, 561 U.S. at 157.

        A.      The Court cannot issue the injunctive relief requested in the Complaint.

                1.      The Court cannot grant any effectual injunctive relief concerning the
                        withdrawn Compatibility Determination and ROW permit.

    A “court’s power to grant injunctive relief only survives if such relief is actually needed.” Greene

v. Teslik, No. 18-cv-116, 2021 WL 1820788, at *6 (W.D. Wis. May 6, 2021) (quoting Nelson v. Miller,

570 F.3d 868, 882 (7th Cir. 2009), abrogated on other grounds as recognized in Jones v. Carter, 915

F.3d 1147 (7th Cir. 2019)), appeal filed (7th Cir. June 22, 2021). “The necessary determination is that

there exists some cognizable danger of recurrent violation, something more than the mere possibility.”

Nelson, 570 F.3d at 882 (internal quotations and citations omitted)). Here, the Court determined that

Plaintiffs’ claims concerning the Compatibility Determination and ROW permit that FWS issued—and

subsequently revoked—are not moot because “a very similar compatibility determination is not only

likely but nearly certain to occur” given the Co-owners’ pending application for a land exchange. Order

at 9–13. As a matter of fact and law, this is simply incorrect: there is no reasonable probability that

FWS will issue a new Compatibility Determination because a Compatibility Determination is not a

prerequisite to entering into the proposed land exchange. See infra Section III(A)(2). FWS specifically

noted that “if approved, th[e] proposed land exchange would make any further decision on [the Co-

owners’] pending [amended ROW] application unnecessary and would obviate the need for the 2020

right-of-way permit.” ECF No. 53-3. Indeed, FWS has affirmatively revoked the Compatibility
                                                      9
Determination and ROW permit for the Project’s crossing of the Refuge—it no longer exists. ECF No.

69-1. Therefore, injunctive relief as to the Compatibility Determination and ROW permit is

unnecessary and those claims are moot. See supra Section I. Even if these actions had not been revoked

by the agency, the Court’s declaratory judgment would be sufficient to prevent the parties from using

them.

               2.      With respect to RUS’s financing decision and the proposed land exchange,
                       there is no final agency action to enjoin.

   This Court lacks jurisdiction to review—let alone enjoin—agency actions that are not yet final. The

federal question statute, 28 U.S.C. § 1331, provides courts with jurisdiction over civil actions arising

under the laws of the United States, including the Administrative Procedure Act, 5 U.S.C. § 551 et seq.

(“APA”). See Califano v. Sanders, 430 U.S. 99, 104–07 (1977). However, courts may only review final

actions of federal agencies for which there is no other adequate remedy in court. 5 U.S.C. § 704; Bennett

v. Spear, 520 U.S. 154, 175 (1997) (“The APA, by its terms, only provides a right to judicial review of

final agency action[.]”). In contrast, “a preliminary, procedural, or intermediate agency action or ruling

not directly reviewable is subject to review on the review of the final agency action.” 5 U.S.C. § 704.

As a general matter, two conditions must be satisfied for agency action to be considered final. Id. at

177–78. First, the action must mark the consummation of the agency’s decisionmaking process—it

must not be of a merely tentative or interlocutory nature. Id. Second, the action must be one by which

rights or obligations have been determined, or from which legal consequences will flow. Id.

   In this case, there is no final agency action for the Court to enjoin. Plaintiffs seek relief as to two

(as yet unrealized) agency actions that rely on the ROD: (1) potential future financial assistance from

RUS to fund Dairyland’s nine percent ownership interest in the Project; and (2) FWS’s “permitting or

granting any easement or other authority” to allow the Project to cross the Refuge. Compl. ¶ 20,

Requested Relief ¶¶ 5–6, ECF No. 1; see also ROD007606–08. But the Federal Defendants have not

taken final action on either of these matters. Dairyland has not yet applied for any funding from RUS,
                                                    10
so RUS necessarily has not determined whether it will award such funding. See supra Section I;

ROD007606–08; Beckendorf Decl. ¶¶ 9–10. Likewise, FWS has not made any decision, much less

consummated one, on the Co-owners’ proposal for a land exchange, or otherwise granted the Co-

owners any right to construct the Project through a new ROW in the Refuge. See ECF No. 53-3; see

also supra Section I; infra Section III(A). The Court lacks jurisdiction to review—let alone enjoin—

such non-final agency actions.

                  3.       As this Court has previously acknowledged, the Court lacks jurisdiction to
                           enjoin the Co-owners from building along the entire Project route.

    For the reasons discussed below, this Court cannot enjoin construction along the entire Project, the

vast majority of which is occurring along the Co-owners’ preexisting or independent rights-of-way on

private land and required no approval from the federal government. See ROD005040, ROD005061,

005110 (noting that Project will be constructed “primarily on private land in Wisconsin and Iowa,”

with a less than 1.5-mile segment running through the Refuge); ROD007624 (97 of line’s 101 miles

are collocated with existing ROWs for transmission lines, railroads, and roadways). In fact, this was

the very reason the Court limited the scope of its preliminary injunction to jurisdictional waters subject

to the URGP. 7 ECF No. 160 at 5–6 (acknowledging that no other construction activities may be

enjoined “due to lapsed permits, [because the activity] is outside the jurisdiction if this court, or

[because the activity] is not the subject of challenge in this lawsuit.”). Moreover, Plaintiffs’ request for

injunctive relief is itself limited to Project activities within the Refuge. See Compl., Requested Relief

¶ 5 (requesting that the Court “Enjoin the USFWS Defendants from permitting or granting any

easement or other authority to allow the proposed CHC transmission line and towers to run across or

cut through the Upper Mississippi River National Wildlife and Fish Refuge”).




7
 As discussed below, to the extent the preliminary injunction is still in effect, the Court should now dissolve it, since the
Court ruled in the Federal Defendants’ and Co-owners’ favor on Plaintiffs’ claims against the Corps, finding the URGP and
verifications thereunder were lawful. See Order at 44.
                                                            11
   In any event, the Court lacks jurisdiction to enjoin construction of the entire Project. An APA

challenge to a federal agency action authorizing only a portion of larger private undertaking provides

no basis to enjoin an entire project. Sierra Club v. U.S. Dep’t of Agric., 841 F. Supp. 2d 349, 361

(D.D.C. 2012) (while an injunction may issue against an action that “cannot lawfully begin or continue

without the prior approval of a federal agency,” a “proposed injunction is flawed” to the extent that it

seeks to stop portions of a project not subject to federal agency control); Weiss v. Kempthorne, 580 F.

Supp. 2d 184, 185 (D.D.C. 2008) (holding that consent by the National Park Service to lease 22 acres

of public parkland as part of a 500-acre development project did not subject the nonfederal portions of

the development to federal control, and that an injunction against the development project was not

warranted). “Even if there was a violation of NEPA . . ., that does not mean that there is a remedy

available to [plaintiff]. It is quite clear that, absent extenuating circumstances, NEPA does not constrain

the actions of non-federal entities.” Env’t Rts. Coal., Inc. v. Austin, 780 F. Supp. 584, 588, 596 (S.D.

Ind. 1991) (“[NEPA’s] reach is limited by its express application only to agencies of the federal

government.”); see also Atlanta Coal. on the Transp. Crisis, Inc. v. Atlanta Reg’l Comm’n, 599 F.2d

1333, 1344 (5th Cir. 1979) (“Congress did not intend NEPA to apply to state, local, or private actions.”).

   Here, the Project is a private venture and the federal approvals required for its construction are

insufficient to “federalize” the entire line. While receipt of federal funds may federalize a project for

purposes of NEPA, it will not do so if the funding is “but an expectancy that has not yet materialized.”

Citizens Alert Regarding the Env’t v. U.S. Env’t Prot. Agency, 259 F. Supp. 2d 9, 19–20 (D.D.C. 2003)

(citing United States v. S. Fla. Water Mgmt. Dist., 28 F.3d 1563, 1573 (11th Cir. 1994)), aff’d, 102 Fed.

App’x 167 (D.C. Cir. 2004). The mere fact that a non-federal project requires some federal approval or

incidental federal involvement does not mean the entire project becomes federalized. Save the Bay, Inc.

v. U.S. Army Corps of Eng’rs, 610 F.2d 322, 326–27 (5th Cir. 1980); Sierra Club v. U.S. Army Corps



                                                    12
of Eng’rs, 803 F.3d 31, 48 (D.C. Cir. 2015) (rejecting argument that NWP verifications extended

geographic scope of the federal action to entire pipeline).

    In this case, the Project is a private venture with limited federal involvement outside the Refuge,

making it improper for the Court to enjoin construction of the entire line. Although Dairyland

anticipates requesting a loan from RUS to finance its participation in the Project, its “ mere expectancy”

or anticipation of federal funding is insufficient to federalize the 91 percent of the Project that requires

no federal funding. Citizens Alert Regarding the Env’t, 259 F. Supp. 2d at 19–20 (citing cases).

    The other required federal approvals are equally insufficient to federalize the Project for purposes

of awarding injunctive relief. Almost all of this approximately 101-mile Project is being constructed

on private land. ROD005110; see also Decl. of Dan Belin ¶ 13, ECF No. 133; Oct. 19, 2021 Decl. of

Shawn Mathis ¶ 4, ECF No. 132; Decl. of Sarah Justus ¶ 9, ECF No. 129. The only segment of the

Project that will be constructed on federal land is a less than 1.5-mile segment that will run through the

Refuge and across the Mississippi River. See FWS00629. This river crossing is the only portion of the

Project requiring authorization from the FWS. ROD007608–09. 8 The Co-owners have obtained

regional general permits under section 404 of the Clean Water Act to permanently fill or temporarily

disturb jurisdictional wetlands along portions of the Project route outside of the Refuge. However, these

permits are required only for 0.02 acres of permanent wetland fill and 13.6 acres of temporary wetland

fill outside the Refuge. USACE000679; USACE000686; USACE004232; USACE004828. Given the

de minimis impacts associated with these activities, the general permits that the Corps have issued are

insufficient to federalize the entire Project. See, e.g., Sierra Club v. U.S. Army Corps of Eng’rs, 990 F.

Supp. 2d 9, 32–37 (D.D.C. 2013) (denying motion for preliminary injunctive relief on plaintiffs’ claim



8 Even for that portion, the Co-owners have existing rights-of-way over the land that give them the ability to build the line
even without federal approval. As explained in Co-owners’ opening summary judgment brief, the 150-foot right-of-way
currently used for the 161 kV line could be used to construct the 345 kV Cardinal-Hickory Creek line through the Refuge,
but the towers would be much taller. See ECF No. 89 at 14–15; ECF Nos. 91-2 & 91-3. Because Co-owners have not begun
planning for this option, it could not occur in time to meet the December 2023 in-service date.
                                                            13
that Army Corps was required to prepare an EIS for the entire 589-mile pipeline project, where 560

miles of the project cross privately owned land and only 1.6 miles of the project would cross lands

within the Corps’ jurisdiction).

    In short, the vast majority of this Project is being constructed on privately owned land. No federal

funding has been awarded for the Project, nor have the Co-owners even applied for it at this time. The

only federal approvals required for the Project are for the less than 1.5-mile segment that crosses the

Refuge and the Mississippi River—which have either been revoked (the Compatibility Determination

and ROW permit) or not yet issued (the land exchange)—and a de minimis amount of permanent

wetland fill outside the Refuge. Given these facts, the required federal approvals do not “federalize”

the rest of the line, meaning the Court simply cannot enjoin construction of the entire Project.

         B.       Under the four-factor test set forth in Monsanto, Plaintiffs cannot show that they
                  are entitled to injunctive relief that would prohibit Project construction either
                  within the Refuge or along the entire Project route.

    As noted earlier, the Court applies the four-factor test from Monsanto when determining whether

to grant Plaintiffs’ request for injunctive relief. Monsanto, 561 U.S. at 157 (citing Winter, 555 U.S. at

31–33); see also LAJIM, LLC, 917 F.3d at 943 (courts should apply “traditional equitable principles”

when evaluating requests for injunctive relief under environmental statutes). 9 Applying these factors to

the current case, and given that the Court has already declared the Compatibility Determination and

ROW to be invalid, Plaintiffs have failed to carry their burden of showing that the Court should enjoin

construction of the Project within the Refuge itself or, to the extent Plaintiff’s argue such relief would

be appropriate, along the entire line.




9
  The standard for permanent injunctive relief is essentially the same as the standard for a preliminary injunction, except in
the former case, the movant must show actual success on the merits, rather than a likelihood of success. See Amoco Prod.
Co. v. Vill. of Gambell, AK, 480 U.S. 531, 546 (1987); Michigan v. U.S. Army Corps of Engineers, 667 F.3d 765, 782 (7th
Cir. 2011).
                                                             14
               1.      Plaintiffs cannot establish irreparable injury based on decisions authorizing
                       work within the Refuge that have been withdrawn by the agencies and held
                       invalid by the Court, or activity outside the Refuge pursuant to permits that
                       the Court has upheld as lawful.

    A showing of irreparable harm is a prerequisite for the issuance of an injunction. Faiveley Transp.

Malmo AB v. Wabtec Corp., 559 F.3d 110, 118 (2d Cir. 2009); see also Reinders Bros., Inc. v. Rain

Bird E. Sales Corp., 627 F.2d 44, 52–53 (7th Cir. 1980). To obtain injunctive relief, Plaintiffs must

demonstrate not just the mere possibility of irreparable harm, but rather, a likelihood of irreparable

harm. Winter, 55 U.S. at 24. The mere potential for environmental injury, without more, will not suffice.

See, e.g., Earth Island Inst., 626 F.3d at 474 (declining to adopt a rule that any potential environmental

injury automatically merits an injunction); Conservation L. Fund. v. U.S. Army Corps of Eng’rs, 457

F. Supp. 3d 33, 66 (D. N.H. 2019).

    Here, Plaintiffs cannot show that, absent injunctive relief, they would likely suffer irreparable harm.

To begin with, procedural injury alone is insufficient to demonstrate the irreparable injury required to

justify injunctive relief. E. Band of Cherokee Indians v. U.S. Dep’t of the Interior, No. CV 20-757,

2020 WL 2079443, at *4 (D.D.C. Apr. 30, 2020) (“A chorus of federal courts . . . has found that

procedural injury, standing alone, cannot constitute irreparable harm.”); cf. Summers v. Earth Island

Inst., 555 U.S. 488, 496 (2009) (“[A] deprivation of a procedural right without some concrete interest

that is affected by the deprivation—a procedural right in vacuo—is insufficient to create Article III

standing.”). Instead, Plaintiffs must show that “the procedural harm is accompanied by a concrete

injury.” E. Band of Cherokee Indians, 2020 WL 2079443, at *4 (internal quotation marks and citations

omitted). Thus, a procedural violation with the EIS—its (allegedly) unduly narrow purpose and need

statement—is insufficient, standing alone, to satisfy the irreparable injury required to justify injunctive

relief.

    Moreover, as a factual matter, Plaintiffs cannot make the required showing of irreparable harm to

justify an award of injunctive relief, either within the Refuge (where any construction along the PSCW-
                                                      15
approved route will have to await further FWS approvals, if they are issued) or along the entire Project

route (where any “injury” to Plaintiffs attributable to federally authorized activity is not a proper basis

for an injunction now that the Court has rejected Plaintiffs’ claims against the URGP).

   With respect to the Refuge, Plaintiffs cannot demonstrate injury from the withdrawn Compatibility

Determination or ROW permit. As discussed earlier, the revoked authorizations have no continuing

effect (and for the same reason, Plaintiffs’ challenges to those actions are moot). Second, the Court

must presume that the Federal Defendants will comply with this Court’s order declaring those actions

unlawful. See, e.g., United States v. Chemical Found., 272 U.S. 1, 14–15 (1926) (“The presumption of

regularity supports the official acts of public officers, and, in the absence of clear evidence to the

contrary, courts presume that they have properly discharged their official duties.”); Comm. on the

Judiciary v. Miers, 542 F.3d 909, 911 (D.C. Cir. 2008) (“[W]e have long presumed that officials of the

Executive Branch will adhere to the law as declared by the court. As a result, [a] declaratory judgment

is the functional equivalent of an injunction.”). Plaintiffs can establish no injury associated with these

authorizations, which FWS has rescinded and the Court has declared are invalid.

   With respect to a future financing decision from RUS or land exchange that might or might not

occur (and which would not be subject to a compatibility determination, see infra Section III(A)(2)),

Plaintiffs also cannot establish injury because they can point to no authorized construction activity that

would harm them. In Monsanto, the Supreme Court held that no irreparable injury existed as to an

agency action (partial deregulation of genetically modified crops) that had not yet occurred. It reasoned,

“[w]hen the District Court entered its permanent injunction, [the Animal and Plant and Health

Inspection Service] had not yet exercised its authority to partially deregulate [roundup ready alfalfa].

Until APHIS actually seeks to effect a partial deregulation, any judicial review of such a decision is

premature.” Monsanto, 561 U.S. at 160. The same logic applies here and bars enjoining either a land

exchange decision by FWS or a funding decision by RUS until they have exercised their authority on

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those matters subject to an administrative record developed in connection with those decisions. See

also SPRAWLDEF v. Fed. Emergency Mgmt. Agency, 717 F. App’x 733, 734 (9th Cir. 2018) (action

moot where FEMA withdrew funding, and would have to “conduct additional NEPA review prior to

issuing any future grants,” which plaintiffs could then challenge).To the extent Plaintiffs seek to enjoin

construction along the entire Project, Plaintiffs cannot show that they will suffer irreparable harm—or

indeed any harm—that is attributable to the de minimis federally-authorized activities outside the

Refuge, which this Court upheld. Order at 41–44. As noted, any injunctive relief must be narrowly

tailored to address the allegedly unlawful conduct that caused the plaintiffs’ injury. See Pollard, 2016

WL 5922320, at *1–2; Sierra Club, 825 F. Supp. 2d at 153. Neither factor is satisfied here. The only

activity the Federal Defendants authorized on the vast majority of the Project that will be constructed

outside the Refuge relates to temporary and permanent wetland impacts under the (now revoked) NWP

12 and the URGP. See USACE000094; USACE000100; USACE000166. But as noted, the Court

granted summary judgment in favor of the Federal Defendants and Co-owners on these claims, Order

at 41–44, so there is no unlawful conduct to enjoin outside the Refuge. In any event, permanently

affected wetlands from anticipated construction comprise only .02 acres outside the Refuge, and even

temporary (and thus reparable) work amounts to less than 14 acres in Wisconsin under the Corps

permits verified for the Project. USACE00693–758; USACE00759–809. Plaintiffs have never

attempted to connect their alleged injuries with the temporary and permanent fill authorized under these

permits from the Corps. See ECF No. 121, at 42–43. Absent this showing of irreparable harm, Plaintiffs

are not entitled to an injunction halting Project construction outside the Refuge.

   Of course, Plaintiffs are likely to argue that any construction of the Project will result in irreparable

aesthetic and environmental harm to the Driftless Area, as they have previously. See, e.g., ECF No. 98,

at 68–78. Setting aside the fact that Plaintiffs have failed to demonstrate how Project construction

would specifically harm them or their members, see ECF No. 121, at 34–46, Plaintiffs incorrectly

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assume that the existence of any impact on the environment constitutes a per se finding of irreparable

harm. This is incorrect. The Driftless Area is “marked by active agricultural and other human uses,

including utility infrastructure.” Belin Decl. ¶ 15. Expanding access to energy from renewable projects

to the west of the Mississippi River requires transmission infrastructure, just like infrastructure is

needed for crop development, forestry, or other uses of the land. Id. In fact, until 2015, there was a 220

megawatt coal plant right across the Refuge, which had been operating for more than 50 years. Id. ¶

16. As such, the Driftless Area it is not inherently incompatible with energy infrastructure development,

given the infrastructure that already exists in the area. Id. The mere presence of the Project will not

irreparably harm the Plaintiffs.

   Moreover, the harms Plaintiffs cite from building the line are not irreparable. Cleared vegetation

will grow back except in the immediate right-of-way; soils will stabilize; best management practices

will mitigate erosion; and wildlife species will adapt to the new environment. See, e.g., ROD005182

(permanent displacement of wildlife species is not anticipated); ROD005113 (“In areas that were

previously forested, disturbed areas would be revegetated consistent with non-invasive herbaceous

vegetation that occurs in the area.”). Again, permanently affected wetlands from anticipated

construction comprise only .02 acres, and even temporary (and thus reparable) work amounts to less

than 14 acres in Wisconsin under the Corps permits verified for the Project. USACE00693–758,

USACE00759–809.

   Along the entire Project route, the Co-owners will implement avoidance and minimization

measures that will limit harm to the environment. The most significant of these measures—the Co-

owners’ routing and siting process—has already been implemented and mitigates the Project’s impacts

to the environment by siting it primarily along existing rights-of-way. Belin Decl. ¶¶ 10–11, 13 (fact

that “the Project parallels existing rights-of-way for more than 95 percent of its length” helps “to

significantly avoid or reduce impacts to interior forest, undisturbed grasslands, endangered species, and

                                                   18
other valuable resources, and limit habitat fragmentation.”); ROD007624 (97 of line’s 101 miles are

collocated with existing ROWs for transmission lines, railroads, and roadways).

   In addition, impacts from the preconstruction and construction process will be minimized through

mitigation measures and best management practices (“BMPs”). See, e.g., ROD005182 (permanent

displacement of wildlife species is not anticipated); ROD005113 (“In areas that were previously

forested, disturbed areas would be revegetated consistent with non-invasive herbaceous vegetation that

occurs in the area.”); ROD005077 (“all erosion control measures (e.g. silt fences, slope breakers)

needed to maintain stable site conditions would be installed”). The Co-owners will implement BMPs

to minimize the potential for the introduction and spread of invasive species. ROD005114 (listing

measures to prevent spread of invasive species, including surveys and site revegetation); ROD005619

(same). The Project also includes environmental commitments and BMPs that are intended to stabilize

disturbed ground and control erosion. ROD005209; see also ROD005077 (Final EIS, stating that “all

erosion control measures (e.g. silt fences, slope breakers) needed to maintain stable site conditions

would be installed”). Any adverse impacts to sensitive and agricultural soils will be repaired

immediately following construction. ROD005134–5135. See also Belin Decl. ¶ 23 (noting that the Co-

owners will conduct monitoring until 70 percent revegetation is established).

   In sum, Plaintiffs’ allegations of irreparable harm—whether due to construction of the Project

generally or within the Refuge—are vastly overstated. Given that most of the Project will be sited along

existing rights-of-way and will be constructed using best management practices and other mitigation

measures, Plaintiffs cannot establish that they will be irreparably harmed absent an injunction.

               2.     The balance of hardships weighs against injunctive relief, since any
                      injunction would likely delay the in-service date for the Project beyond
                      December 2023, causing millions of dollars of additional construction costs
                      and deny ATC a profit on its investment.

   In considering a request for injunctive relief, the Court must balance the harm the plaintiff will

suffer if the injunction is denied against the harm the defendant will suffer if the relief is granted.
                                                  19
Roland Mach. Co. v. Dresser Indus., Inc., 749 F.2d 380, 387 (7th Cir. 1984). Economic harm is an

appropriate factor to consider when balancing the parties’ equitable interests. See Earth Island Inst. v.

Carlton, 626 F.3d 462, 475 (9th Cir. 2010) (citing Amoco Prod. Co. v. Vill. of Gambell, 480 U.S. 531,

545 (1987)). Indeed, when balancing the equities of an injunction, an intervenor-defendant’s economic

interests are “legitimate considerations.” Sierra Club v. U.S. Army Corps of Eng’rs, No. 2:20-cv-00396,

2020 WL 7389744, at *23 (D. Me. Dec. 16, 2020), aff’d 997 F.3d 395 (1st Cir. 2021); see also Gambell,

480 U.S. at 545 (considering oil company petitioners’ $70 million investment in oil and gas exploration

activities when balancing harms of preliminary injunction against oil and gas leasing activities on outer

continental shelf); W. Watersheds Project v. Salazar, 692 F.3d 921, 923 (9th Cir. 2012) (district court

properly weighed environmental harm of utility scale solar project against, among other things, project

funding and jobs when denying motion for preliminary injunction). “[A]n injunction should not

necessarily issue if the harm to the defendant would substantially outweigh the benefit to the plaintiff.”

Mich. v. U.S. Army Corps of Eng’rs, 667 F.3d 765, 789 (7th Cir. 2011).

   Should Plaintiffs seek to enjoin work along the entire Project route, the balance of hardships would

definitely weigh against such relief. First, the Co-owners have already devoted significant capital—

approximately $159 million through the end of August 2021—to procure the equipment and labor

necessary to construct the Project and place it in-service by December 2023. Justus Decl. ¶ 13. If this

Court were to enjoin Project construction in its entirety, the Co-owners would be unable to proceed

with building the Project. The significant capital the Co-owners have dedicated to the Project already

weighs against awarding injunctive relief. See Sierra Club, 2020 WL 7389744, at *23 (utility’s

commitment of “considerable human and economic resources” to construct high-voltage transmission

line connecting hydropower generation resource to the New England electric grid undermined

plaintiffs’ motion for preliminary injunction); Reed v. Antwerp, No. 4:09CV3096, 2009 WL 2824771,

at *8 (D. Ne. Aug. 28, 2009) (denying motion for preliminary injunctive relief to halt construction on

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segment of new transmission line, in part due to the “considerable investment” public power district

had already committed to the project).

   Second, an injunction halting construction work along the Project would almost certainly delay the

Project’s in-service date. Presumably, any injunction that is issued based on errors in the agencies’

environmental analysis would be lifted if and when the agencies address those errors by conducting

supplemental analyses. However, given that the Federal Defendants spent several years preparing the

EIS, Biological Opinion, and Compatibility Determination for the Project, it would in all likelihood

take the Federal Defendants at least six months to prepare and finalize the supplemental analyses.

ROD000003; ROD007652. And, an injunction of construction along the entire Project route that lasts

more than six months would jeopardize the December 2023 in-service date for the Project. Oct. 19,

2021 Decl. of Shawn Mathis, ¶ 21, ECF No. 132. In other words, it will likely take the Federal

Defendants longer than six months to prepare a supplemental environmental analysis to address the

alleged flaws described in the Order, and if all Project construction is enjoined during this timeframe,

the Project will almost certainly miss its December 2023 in-service date.

   Halting Project construction in its entirety (i.e., even in non-federal areas) would result in tens of

millions of dollars of additional construction costs. Workers are building the Project on a full-time

basis. Mathis Decl. ¶ 18; Justus Decl. ¶ 24. If an injunction issues, the Co-owners will not be able to

deploy carefully sequenced construction work and will need to demobilize—and, after the injunction

is lifted, remobilize—the resources they have marshalled for construction. Justus Decl. ¶¶ 23–24;

Mathis Decl. ¶ 18. Once the injunction is lifted, the Co-owners would need to adjust the work schedule

by adding construction crews, increasing work hours, and conducting work on multiple segments of

the Project. Justus Decl. ¶¶ 24–25; Mathis Decl. ¶ 22. They may also need to pay a premium for the

additional labor needed to timely complete Project construction. Mathis Decl. ¶ 22; Justus. Decl. ¶ 25.



                                                  21
Given these costs, a six-month injunction is expected to increase the cost of building the Project by

approximately $23 million for ATC and $7 million for ITC. Mathis Decl. ¶ 25; Justus. Decl. ¶ 27.

    In addition, an injunction halting all Project construction would cause ATC to suffer significant lost

profits, which generally fall into two categories. See generally Decl. of Michael Degenhardt on behalf

of ATC, ECF No. 135. ATC will both fail to earn on the money it has spent to date. Id. at 11, and

continue to incur costs that it cannot add to rate base (i.e., cannot earn a return or interest on) while the

injunction remains in effect. Id. ¶ 12. Taken together, these two categories of losses would amount to

approximately $2 million if an injunction lasted six months and approximately $6 million if an

injunction lasted a year. Id. ¶ 13. These are financing costs that ATC would never recover, from

ratepayers or otherwise. See Habitat Educ. Ctr. v. U.S. Forest Serv., 607 F.3d 453, 457 (7th Cir. 2010)

(“Every day that a sum of money is wrongfully withheld, its rightful owner loses the time value of the

money,” and there is “no procedural vehicle to enable [non-moving party] to recover the loss of the

time value of its money” in such circumstances.).

    Even if the injunction is limited to construction work within the Refuge, the balance of hardships

would still tilt in favor of the Co-owners. The Co-owners are currently scheduled to start construction

within the Refuge in October 2022. Jan. 31, 2022 Decl. of Shawn Mathis ¶ 8 (filed concurrently

herewith). That schedule would be obtainable if Federal Defendants are allowed to act on the Co-

owners’ land exchange application after they conduct any supplemental analysis necessary to address

purported NEPA concerns identified by the Court and [FWS] decides to approve the land exchange.

But if the Co-owners are unable to begin work within the Refuge by October 2022, they would have to

push back the construction start date until October 2023, making it unlikely that the Project could be

placed in-service by the currently scheduled in-service date of December 2023. Id. ¶ 9.

    For the foregoing reasons, the balance of hardships weighs in favor of the Co-owners, meaning the

Court should decline to issue any form of injunctive relief.

                                                     22
               3.      Any injunction would severely harm the public interest by increasing
                       energy costs, undermining grid reliability, and harming renewable
                       generators in the upper Midwest that are conditioned on the Project.

   The Court must examine the impact that granting or denying an injunction would have on the public

interest. Monsanto, 561 U.S. at 157; Roland Mach., 749 F.2d at 388. If a plaintiff cannot demonstrate

that an injunction is in the public interest, that alone is a sufficient basis to deny a plaintiff’s motion.

Winter, 555 U.S. at 26. This factor should primarily focus on the impact to non-parties (such as, in this

case, retail electric ratepayers, or families and businesses who pay monthly electric bills), rather than

parties. See League of Wilderness Def./Blue Mountains Biodiversity Project v. Connaughton, 752 F.3d

755, 766 (9th Cir. 2014). NEPA cases are no exception to this requirement. W. Watersheds Project v.

Salazar, No. CV 11-00492, 2011 WL 13124018, at *20 (C.D. Cal. Aug. 10, 2011) (“In considering a

motion for an injunction under NEPA, however, where the ultimate claim is that the defendants must

adequately prepare an EIS, an injunction should not be granted when there is a strong public interest

weighing against the injunction.”) (citing Winter, 555 U.S. at 32). Here, enjoining construction either

within the Refuge or along the entire route would thwart the public interest. This is because enjoining

any Project construction would likely delay the Project’s in-service date, see supra Section III.D, and

likewise, the public’s ability to realize the Project’s significant economic, reliability, and environmental

benefits.

   First, the Project is expected to relieve transmission congestion on the existing system, which, in

turn, reduces market prices for electricity in Wisconsin, resulting in energy cost savings for utilities

and consumers alike. Decl. of Tom Dagenais ¶¶ 27–36, ECF No. 137. The benefits from this reduced

congestion to Wisconsin are significant, constituting the lion’s share of the $23 million to $350 million

in net economic benefits the Project is expected to deliver to the state over the next 40 years. Id.

(describing the Co-owners’ calculation of the Project’s economic benefits to Wisconsin). If the Project

is not placed into service by the currently scheduled in-service date (December 2023), Wisconsin

                                                    23
ratepayers would be forced to wait to receive the millions of dollars in economic benefits the Project is

expected to deliver over its 40-year assumed life. The existing transmission congestion the Project is

designed to relieve would continue unabated, adversely impacting utilities and consumers alike, since

wholesale power prices will be higher than they otherwise would be with the Project in-service. Id.

¶ 70. This Court should not use its equitable powers to prevent implementation of a Project that MISO,

Wisconsin, and Iowa have determined is necessary to save money for Wisconsin ratepayers.

     Second, the Project provides a critical connection between the 345-kV electric transmission systems

in Wisconsin and Iowa and, as a result, will improve the flexibility and reliability of the grid. Dagenais

Decl. ¶ 51 & Ex. A at 58, 90, ECF No. 137-1. Until the Project is placed in-service, “the transmission

system will be less secure, with additional voltage and transient stability limitations.” Decl. of MISO

Senior Manager of Economic Planning Neil Shah ¶ 19, ECF No. 128. The Project also increases the

availability of periods during which generators or transmission lines can be taken out of service for

maintenance, relieves congestion on a critical transformer in southwestern Wisconsin (especially

during periods of long-term plant outages), and provides insurance value against extreme weather

events that can lead to outages on the transmission system, reducing the cost of electricity during

outages by making the grid more resilient to potential outages in the first instance. Dagenais Decl. ¶¶

43, 49–51; Shah Decl. ¶ 23.

     An injunction that delays the Project’s in-service date would defer the Project’s critical reliability

improvements to the electric transmission system. See Decl. of Christopher McLean, Acting

Administrator for RUS ¶ 9, ECF No. 139 (“[U]nexpected and unnecessary delays in needed

transmission construction can contribute to grid fragility, consumer harm, and ultimately power

outages. If this Project is enjoined, risks to grid reliability could be compounded.”). 10 If the Project is


 See generally U.S. Department of Energy Notice of Intent, “Building a Better Grid Initiative to Upgrade and Expand the
10

Nation’s Electric Transmission Grid to Support Resilience, Reliability, and Decarbonization” (Jan. 11, 2022) (“DOE NOI”)

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delayed, emergencies such as extreme weather are more likely to lead to outages. Shah Decl. ¶ 23 (“The

CHC Project . . . make[s] the transmission system in the MISO footprint more resilient to severe

weather disruptions.”). Given the adverse impacts that injunctive relief could have on the reliability of

the transmission system, such relief would be contrary to the public interest. Antwerp, 2009 WL

2824771, at *8 (denying motion for preliminary injunction on plaintiffs’ claim under NEPA regarding

80-mile transmission project designed to reliably move power to load centers in Nebraska and meet

North American Electric Reliability Corporation reliability standards, in part because “the public’s

interest lies in completion of the project and the provision of reliable electric service”); Woida v. United

States, 446 F. Supp. 1377, 1390 (D. Minn. 1978) (denying motion for preliminary injunction on

plaintiffs’ NEPA claim regarding construction of high-voltage transmission line that would connect

1000-MW coal plant to nearby substation; injunctive relief was not in the public interest since “delay

might cause a decline in the reliability of electric service for the approximately one million rural

consumers” served by utilities constructing the line).

    Third, the Project is critical to supporting the massive amount of renewable energy currently being

developed in western Wisconsin, Iowa, and the Dakotas. Approximately 7,500 MW of renewable

generation—enough to power millions of homes per year—is currently conditioned on the Project, with

another approximately 10,000 MW in advanced stages of the interconnection process that will also be

conditioned on the Project. Dagenais Decl. ¶ 60. Until the Project is placed in-service, these generators

could be subject to quarterly operating studies, which could curtail their output—that is, limit their

ability to inject their full output onto the grid. Shah Decl. ¶ 20 (existing and new renewable generators

“could be unable to deliver their full output to the transmission system if the CHC Project is not



at 1 (“Modernizing, hardening, and expanding the grid will enhance the resilience of our entire electric system, and ensure
that electricity is available to customers when it is needed most. . . .The increasing frequency of extreme weather events is
leading to energy supply disruptions that threaten the economy, put public health and safety at risk, and can devastate
affected       communities         all    over       the     country”),       https://www.energy.gov/sites/default/files/2022-
01/Transmission%20NOI%20final%20for%20web_1.pdf.
                                                             25
constructed as planned”). MISO estimates that, for every megawatt of wind output that is limited due

to these quarterly studies, system production costs increase by approximately $100,000 per year.

ROD016920–21.

   The adverse repercussions of a delay in the Project’s in-service date would ripple throughout the

upper Midwest. As stated by an officer of the American Clean Power Association, “[m]any renewable

resources that would support Wisconsin’s clean energy goals are dependent on the development of the

Cardinal-Hickory Creek 345 kilovolt transmission line to successfully interconnect to the grid.” Decl. of

Gene Grace ¶ 10, ECF No. 134. For example, four proposed wind projects, totaling almost 900 MW of

capacity, plan to interconnect to the transmission system through that portion of the Project located

between the Hill Valley and Cardinal substations. Id. In addition, three of Wisconsin’s largest electric

utilities—who provide retail electric service to approximately 1.75 million customers in Wisconsin—

have invested $390 million into the Badger Hollow solar farm, a 300 MW solar project located in Grant

County, Wisconsin that is conditioned on the Project. Decl. of Scott Smith and Daniel Krueger ¶¶ 7–8,

26, ECF No. 130. A delay of even two months in the Project’s in-service date would cause these utilities

to lose approximately $15 to $20 million in 2024 alone. Id. ¶ 32. Other renewable generators in the

region would similarly be faced with increased risks, lost revenues, and potential abandonment of their

projects. See Decl. of Arash Ghodsian, EDF Renewables, Inc. ¶¶ 5-7, ECF No. 123; Decl. of Phillip

Ross, Pattern Energy ¶¶ 8–9, ECF No. 136; Decl. of Wells McGiffert, ALLETE Clean Energy ¶¶ 7–9,

ECF No. 125. These renewable energy developers stand ready to harness the wind and solar energy

MISO predicted would become available (and more), but until the line is built, these generators may

be subject to limits or curtailment that prevent them from achieving their full potential. Collectively,

these generators represent 7,500 MW of green energy that is primed and ready to flow into the system;

the Court should decline Plaintiffs’ invitation to staunch it with a tourniquet by enjoining the Project.



                                                   26
     Finally, maintaining the current construction schedule is also critical to meet the region’s and the

nation’s ambitious carbon-free goals. 11 The Project is expected to reduce regional carbon dioxide (CO2)

emissions by approximately 150,000 to 1.2 million tons per year. Smith Decl. ¶¶ 13–14, 31 (“[E]very

single [data run] indicates that the Cardinal-Hickory Creek transmission line will result in a net decrease

in CO2 emissions in those regions.”). On a global scale, the monetary benefit of these emissions

reductions could be substantial—ranging from $154 million to $1.4 billion. Smith Decl. ¶¶ 23–31. By

contrast, an injunction that delays the Project’s in-service date would hinder the region’s ability to

achieve these emission reductions. Smith Decl. ¶¶ 15–22 (explaining how Project delays would

increase CO2 emissions from the regional generating fleet); see also Dagenais Decl. ¶ 75 (if the Project

is not constructed by its scheduled in-service date, “less renewable generation will be sold into the

market, resulting in an increase in generation and greenhouse gas emissions from fossil fuel

generators”). Specifically, for every gigawatt (1,000 MWs) of wind capacity that is delayed for a 12-

month period, carbon dioxide emissions would increase by somewhere between 1.5 to 3.9 million tons.

Smith Decl. ¶ 21; Dagenais Decl. ¶ 76. Building the Project as soon as possible is critical to alleviate

transmission congestion, ensure that utilities can obtain the cost-effective renewable resources they

need to serve their customers, and help states in the region achieve their carbon reduction goals. Decl.

of Heather Allen ¶¶ 9, 12, ECF No. 122; Decl. of Thomas Hanrahan ¶¶ 4–6, ECF No. 124;

Smith/Krueger Decl. ¶¶ 44–48; Decl. of Amelia Vohs ¶¶ 7, 9, ECF No. 126; Grace Decl. ¶ 11.

     Courts have repeatedly acknowledged that injunctive relief undermines the public interest if it

inhibits renewable energy development and greenhouse gas reduction objectives. See, e.g., W.

Watersheds Project, 692 F.3d at 923 (affirming district court decision to deny preliminary injunction




11
   See generally DOE NOI at 3 (“Multiple pathways exist for the United States to meet [Biden Administration’s] clean
energy goals, but all require upgrading and expanding the Nation’s transmission infrastructure. In particular, they require
deploying interstate high-voltage lines connecting areas with significant renewable energy resources to demand centers and
linking together independently operated grid regions.”).
                                                           27
of Ivanapah solar project based on plaintiffs’ claims under NEPA and other environmental statutes

because “the district court properly took into account the federal government’s stated goal of increasing

the supply of renewable energy and addressing the threat posed by climate change, as well as

California’s argument the [] project is critical to the state’s goal of reducing fossil fuel use, thereby

reducing pollution and improving health and energy security in the state”); Colo. River Indian Tribes

v. Dep’t of the Interior, No. CV14-02504, 2015 WL 12661945, at *34–35 (C.D. Cal. Jun. 11, 2015)

(denying motion for preliminary injunctive relief on plaintiffs’ NHPA, NEPA, and FLPMA claims

regarding Blythe solar project where competing public interests were in equipoise: while plaintiffs had

interest in preserving cultural resources, there was a competing public interest in developing renewable

energy on public lands); Protect Our Cmtys. Found. v. U.S. Dep’t of Agric., No. 11-cv-00093, 2011

WL 13356151, at *11–12 (S.D. Cal. Sept. 15, 2011) (denying motion for preliminary injunctive relief

against 117-mile transmission line; injunctive relief was not in the public interest since the project

would facilitate development of renewable resources by “unlock[ing] the potential of one of the richest

renewable energy regions in California” and advance state and federal policies to reduce GHG

emissions); La Cuna de Aztlan Sacred Sites Prot. Circle Advisory Comm. v. U.S. Dep’t of the Interior,

No. LA CV11-04466, 2011 WL 13130485, at *11 (C.D. Cal. Aug. 11, 2011) (denying motion for

preliminary injunctive relief on plaintiffs’ claims under NEPA and FLPMA against Blythe solar project

because “[t]he public also has a significant interest in obtaining new sources of renewable energy”).

   In short, the Project is expected to “reduce and prevent regional transmission congestion, improve

system reliability from outages, lower transmission costs, . . . meet renewable energy policies set by

states, move renewable power from where it is generated to where it is needed, and address system

needs due to coal and biomass powerplant closures.” McLean Decl.¶ 7. “Unnecessary delays may cause

ripple effects triggering additional delays in interconnection investments to generation sources as well

as increases or shifts in transmission congestion and related cost allocations which would adversely

                                                   28
affect rural consumers and grid reliability.” Id. Given the significant economic, reliability, and

environmental benefits the Project will generate for the upper Midwest, an injunction would be

antithetical to the public interest.

          C.     The Court should dissolve the preliminary injunction.

       Given that the Court issued an order on summary judgment, the preliminary injunction appears to

have expired by its own terms, as it only enjoined activities under the URGP “until issuance of an

opinion and order on summary judgment.” ECF No. 164, at 2. Plaintiffs’ challenge to the URGP formed

the entire basis for the Court’s decision to preliminarily enjoin construction activities in jurisdictional

waters. Since the Court has now rejected that challenge, it should dissolve the preliminary injunction,

to the extent it still remains in effect, or clarify that it has indeed expired.

III.      THE COURT SHOULD STAY ITS JUDGMENT PENDING APPEAL.

       The Order, which resolves Plaintiffs’ claims and reverses the Court’s findings on Plaintiffs’

preliminary injunction motion (ECF No. 164), declares that it “would be” unlawful for the federal

government to take any future action to authorize the Co-owners to build the Project through the

Refuge, where the Co-owners currently own and operate two existing transmission lines. See Order at

23. The Project—which will span approximately 100 miles and will have 99 percent of its right-of-way

located on existing rights-of-way between Dubuque County, Iowa and Madison, Wisconsin—would

cross little more than a mile of the Refuge, which (with limited exceptions for jurisdictional gaps) spans

261 miles of the river in the states of Minnesota, Wisconsin, Iowa and Illinois.




                                                      29
                                    Map of Refuge, ROD028205, Fig. 1

Both the Refuge segment and the remaining 100 miles of the Project—again, collocated with existing

rights-of-way that already figure in the landscape—would pass through the Driftless Area, a historically

unique geological landscape spanning four states that is today noteworthy for scenic values but also for

heavy agricultural land use. Federal permitting for the portion of the Project in Wisconsin consists

solely of Clean Water Act permits for the 0.02 acres of permanent and 13.6 acres of temporary and

temporary fill that will implicate federal jurisdictional waters. The Court has now upheld that

permitting and construction of that portion of the line, and rejected Plaintiffs’ claims against the Corps.

   The Project has been planned for more than a decade by MISO, FERC’s surrogate; endorsed by

two expert state agencies after years of independent study and public input (including public hearings);

and studied in a four-volume Environmental Impact Statement, Biological Opinion, and other

permitting documents (with extensive public notice and comment) by three federal agencies, including

one (a potential source of future funding) whose mission is to improve transmission in rural America.

MISO (the regional planning entity), the PSCW, and the Iowa Utilities Board each approved the project

because of its economic, reliability, and public policy benefits. The Project fulfills the longstanding

goals of multiple Midwestern states to efficiently harness and distribute renewable energy in the region

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to meet policy goals to reduce their reliance on fossil fuels and alleviate existing limitations on the grid

that affect energy cost, safety and reliability.

     Plaintiffs, having previously sought to stop the Project in two different forums and four different

lawsuits, 12 have found some relief in this Court—at least for now. But for the reasons set forth below,

that relief must be fleeting. In its desire to stop the Project, the Court ignores the statutory limitations

on APA review, which the Seventh Circuit has repeatedly recognized when exhorting courts not to

substitute their judgment for that of politically accountable officials. Highway J. Citizens Grp. v.

Mineta, 349 F.3d 938, 953 (7th Cir. 2003). By enjoining decisions that have not yet been made (and

were not included in the complaint, which Plaintiffs never amended), the Court ignored express

statutory limits of APA review, which must be based on an administrative record unique to each

decision. Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 743 (1985). “Administrative agencies deal

with technical questions, and it is imprudent for the generalist judges of the federal district courts and

courts of appeals to consider . . . evidence bearing on those questions unless the evidence has first been

presented to and considered by the agency.” Cronin v. U.S. Dep’t of Agric., 919 F.2d 439, 444 (7th Cir.

1990). And yet, by purporting to block a land exchange that has not even been approved, the Court did

exactly that.

     To issue relief against the Project, the Court had to disregard more than the APA’s deferential

standard of review; it also had to ignore the Article III limits on its jurisdiction. Other than the Clean

Water Act claims the Court rejected, Plaintiffs’ claims were either moot (their challenge to FWS’s

Compatibility Determination and ROW permit) or unripe (their challenge to RUS’s future funding

decision). The Court’s review of a land exchange decision that has not occurred (and was never

pleaded) runs roughshod over the APA’s requirement of “final agency action”; as the Supreme Court



 In addition to these two consolidated actions, there one (stayed) federal and one state court lawsuit. Driftless Area Land
12

Conservancy, et al. v. Huebsch, et al., No. 3:19-cv-01007; County of Dane, et al. v. PSCW et al., No. 2019-CV-3418.
Although the parties and claims vary, they all seek an injunction against the Project.
                                                           31
has observed, ignoring this requirement presents the unappealing prospect of “injecting the judge into

day-to-day agency management.” Norton v. S. Utah Wilderness All., 542 U.S. 55, 66–67 (2004). And,

if this unauthorized supervision of Executive branch agencies by a federal court were not sufficiently

disconcerting, the Court’s grasp to invalidate a Project approved by two democratically selected public

utility commissions presents uncomfortable concerns about federalism as well. Ill. Com. Comm’n v.

FERC, 721 F.3d 764, 773 (7th Cir. 2013) (“[U]nlike the regulation of natural gas, a field in which

FERC has jurisdiction both over pricing and over the siting of interstate lines . . . the states retain

authority over the location and construction of electrical transmission lines.”).

   Because these errors of law warrant reversal, and because the other Nken factors are satisfied as

well, the Co-owners move for a stay pending appeal. The standard for granting a stay pending appeal

mirrors that for granting a preliminary injunction. Nken v. Holder, 556 U.S. 418, 426 (2009); In re A &

F Enters., Inc. II, 742 F.3d 763, 766 (7th Cir. 2014); see also In re Forty–Eight Insulations, Inc., 115

F.3d 1294, 1300 (7th Cir.1997). The court considers: “(1) the likelihood the applicant will succeed on

the merits of the appeal; (2) whether the applicant will be irreparably injured absent a stay; (3) whether

issuance of the stay will substantially injure other parties; and (4) the public interest.” Common Cause

Ind. v. Lawson, 978 F.3d 1036, 1039 (7th Cir. 2020) (citing Nken, 556 U.S. at 426). As with a motion

for a preliminary injunction, “a ‘sliding scale’ approach applies; the greater the moving party’s

likelihood of success on the merits, the less heavily the balance of harms must weigh in its favor, and

vice versa.” In re A & F Enters., 742 F.3d at 766. Here, all four factors weigh in favor of a stay pending

appeal.




                                                   32
       A.      The Co-owners have a high likelihood of success on appeal.

               1.     The Court’s decision to preemptively rule on a land exchange that has not
                      even occurred is inconsistent with the APA’s command that only final
                      agency actions are subject to judicial review.

   As explained supra Section II.A, the Court lacks jurisdiction to review agency actions that are not

final and which were not identified in Plaintiffs’ Complaint, which Plaintiffs never amended. The Court

therefore lacked jurisdiction to address the merits of the Co-owners’ proposal for a land exchange that

would enable the Project to cross the Refuge, as FWS has yet to act on that proposal. See ECF No. 53-

3. For the reasons discussed below, the Co-owners have a high likelihood of reversing on appeal this

Court’s conclusion that the land exchange was sufficiently ripe and final for adjudication in this case.

See Citizens for Appropriate Rural Roads v. Foxx, 815 F.3d 1068, 1079 (7th Cir. 2016) (affirming

dismissal of claim where plaintiffs’ lawsuit “predated the final agency action[,] and is therefore

unripe”).

   In concluding that the nascent land exchange was sufficiently “final” and ripe for judicial review,

the Court relies heavily on FWS’s statement that such an exchange could be a “potentially favorable

alternative to a right-of-way-permit.” See Order at 15. It asserts that FWS’s letter to the Co-owners

reflects the agency’s final action on the proposed land exchange because it “all but guarantee[s]” the

agency’s approval. Id. This was clear error. Final agency action must reflect the consummation of the

agency’s decisionmaking process and constitute action that creates legal rights or obligations. Bennett,

520 U.S. at 177–78. FWS’s letter far from consummates its decisionmaking process on the land

exchange. The letter is at most a preliminary assessment—one which is advisory in nature and which

simply indicates a “potentially favorable alternative” to the (now revoked) Compatibility

Determination and ROW permit. Courts have previously distinguished between these type of

preliminary assessments and final agency determinations, and have declined to review agency actions

that are simply “informational in nature.” See U.S. Army Corps of Eng’rs v. Hawkes Co., 578 U.S. 590,

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597 (2016) (distinguishing between preliminary jurisdictional determinations “which are ‘advisory in

nature’” from approved jurisdictional determinations which “clearly mark[] the consummation of the

Corps’ decisionmaking process on that question”) (internal quotation marks omitted); Menominee

Indian Tribe of Wis. v. Env’t Prot. Agency, 947 F.3d 1065, 1070 (7th Cir. 2020) (“A letter ‘purely

informational in nature’ is not a final agency action because it ‘impose[s] no obligations and denie[s]

no relief.’ Letters restating earlier interpretations likewise do not carry legal consequences for purposes

of the ‘final agency action’ requirement.”) (internal citations omitted).

   Moreover, and contrary to the Court’s reasoning, an agency’s “anticipated approval” is insufficient

to constitute final agency action for purposes of judicial review. Finality requires a formal

determination that determines rights or obligations, or “from which legal consequences flow.” Bennett

520 U.S. at 177. Courts have long recognized that “[a]n agency action is not final if it is only . . .

‘tentative.’ The core question is whether the agency has completed its decisionmaking process, and

whether the result of that process is one that will directly affect the parties.” Dhakal v. Sessions, 895

F.3d 532, 539 (7th Cir. 2018) (quoting Franklin v. Massachusetts, 505 U.S. 788, 797 (1992)). Despite

any indications in FWS’s letter of a potentially favorable outcome for the Co-owners, FWS’s action is

far from final. As discussed below, the agency must still undergo an entirely different administrative

review process before making an ultimate and final decision on whether to accept the Co-owners’

proposal for a land exchange. Because FWS has yet to complete its decisionmaking process regarding

the land exchange, this Court cannot reasonably conclude that FWS’s actions constituted final agency

action subject to judicial review. And because it has not done so, there is nothing “from which [any]

legal consequences flow.”

   The Court’s reliance on Abbott Laboratories v. Gardner, 387 U.S. 136 (1967) and the line of cases

cited therein, Order at 14–16, to support its finality determination is simply flawed because in those

cases, regulated entities sought pre-enforcement review of regulations that they feared would be aimed

                                                    34
at them. Here, in contrast, Plaintiffs are not the objects of any future land exchange decision. In Abbott,

the Supreme Court reviewed a challenge to a Food and Drug Administration regulation that imposed

labeling and advertisement requirements on prescription drug manufacturers. Abbott, 387 U.S. at 137–

38. Noting that “finality” has been interpreted in a “pragmatic way,” the Court concluded that the

regulation at issue was “quite clearly definitive,” reasoning that it had been “promulgated in a formal

manner . . . made effective upon publication” and had the “status of law.” Id. at 151–52. The Court

further reasoned the impact of the regulations upon the petitioners “is sufficiently direct and immediate

as to render the issue appropriate for judicial review.” Id. at 149, 151–52. This is a far cry from the one-

page letter FWS issued here, where the agency merely indicated its commitment to review the proposed

land exchange and nothing more. See ECF No. 53-3.

   The Court’s reliance on Abbott for the proposition that a “statement of interest” is sufficient to

constitute final agency action, Order at 14–15, is likewise erroneous. In fact, the portion of Abbott the

Court discusses references a different case—Columbia Broadcasting System v. United States, 316 U.S.

407 (1942)—that also has no application here. Columbia Broadcasting involved pre-enforcement

review of an FCC regulation where the FCC asserted it would not license local stations that maintained

contracts with certain broadcasters. Abbott, 387 U.S. at 150 (citing Columbia Broadcasting System,

316 U.S. 418–19). While the Court did characterize that regulation as “a statement only of [the

agency’s] intentions,” it did so in the context of justifying pre-enforcement review of the promulgated

rule, and did not stop at the proposition that a statement of intent on its own constitutes final agency

action. Rather, the Court reasoned:

       The FCC did not have direct authority to regulate these contracts, and its rule asserted
       only that it would not license stations which maintained such contracts with the
       networks. Although no license had in fact been denied or revoked, and the FCC
       regulation could properly be characterized as a statement only of its intentions, the Court
       held that ‘Such regulations have the force of law before their sanctions are invoked as
       well as after. When as here they are promulgated by order of the Commission and the
       expected conformity to them causes injury cognizable by a court of equity, they are
       appropriately the subject of attack.
                                                  35
Id. (emphasis added).

     Like Abbott, Columbia Broadcasting is simply inapposite. It involved an agency that issued a

formal regulation (which had the force of law) after an extensive investigation, public hearings,

briefing, and oral argument. Columbia Broadcasting, 316 U.S. at 409. In this case, FWS has done

nothing more than issue a one-page letter indicating that a land exchange is a “potentially favorable

alternative” to the (now revoked) Compatibility Determination and ROW permit. Even assuming this

reflects a statement of FWS’s intentions, the process for FWS’s final decision on the land exchange is

nowhere near complete. There are a variety of procedures that apply to land exchanges, including an

appraisal, environmental review, title review, and (depending on the value of the exchange) potential

review by the House and Senate Committees on Appropriations. 13 The agency has not completed this

process, let alone made a decision on or otherwise consummated the land exchange. It is impossible

for the Court to conduct “pre-enforcement review” (as was the case in Abbott and Columbia

Broadcasting) when no decision has been made and nothing is being enforced—against Plaintiffs or

anyone else. See Franklin, 505 U.S. at 797 (“The core question is whether the agency has completed

its decision making process, and whether the result of that process is one that will directly affect the

parties.”) (emphasis added).

     The Court’s criticism of FWS for failing to offer “any evidence to suggest that the land is indeed

suitable for disposition [under 16 U.S.C. § 668dd(b)(3)],” Order at 35, illustrates this point. The agency

necessarily could not offer any such evidence because it has not taken action on the proposed land

exchange. That is precisely why the Court’s jurisdiction is limited to final agency actions: so that there

is an administrative record that the Court can review to determine whether the action in question is

arbitrary, capricious, or otherwise not in accordance with the law. 5 U.S.C. § 706. It is impossible for


13
   See U.S. Fish & Wildlife Service, 342 FW 5, Non-Purchase Acquisition (Jun. 21, 1994) (as amended Apr. 14, 2008),
https://www.fws.gov/policy/342fw5.html.
                                                        36
the Court to conduct that inquiry without such a record, let alone a final determination from the agency

in question.

               2.      Even if the Court had jurisdiction to preemptively review the land
                       exchange, it wrongly concluded that such exchanges must be supported by
                       a compatibility determination.

   The Court’s holding that the proposed land exchange must be supported by a compatibility

determination, Order at 32–35, is clearly erroneous. Contrary to the reasoning in the Order, land

exchanges simply do not present the same legal issues as ROW authorizations because no compatibility

determination is required. The plain language of the Refuge Act provides that proposed uses must be

“compatible” with Refuge purposes, see 16 U.S.C. § 668dd(d)(1)(B), but contains no similar

requirement for land exchanges, id. § 668dd(b)(3). The only requirement is that the Refuge land be

“suitable for disposition” and “approximately equal” in value (or equalized by cash payment) to the

land for which it is being exchanged. Id. For that reason, courts have uniformly recognized that the

Secretary has discretion over land exchanges. WildEarth Guardians v. U.S. Fish & Wildlife Serv., 784

F.3d 677, 687 (10th Cir. 2015) (“[T]he fact that the Service enjoys the power to enter into land

exchanges like this one as a general matter bolsters the reasonableness of the Service’s view that it had

the power to preside over the exchange here.”) (interpreting 16 U.S.C. § 668dd(b)(3)); Sierra Club v.

Hickel, 467 F.2d 1048, 1051 (6th Cir. 1972) (“No conditions relating to the environment were imposed

in the statute.”); Town of Superior v. U.S. Fish & Wildlife Serv., 913 F. Supp. 2d 1087, 1111 (D. Colo.

2012), aff’d sub nom. WildEarth Guardians, 784 F.3d 677 (10th Cir. 2015) (“The plain language of the

Refuge Act supports the conclusion that a compatibility determination is not required for the acquisition

of land.”). Indeed, Congress expressly contemplated the agency’s use of its exchange authority for the

purposes of the Co-owners’ proposal; the bill that became 16 U.S.C. § 668dd(b)(2) was intended “to

provide for the replacement of lands within the National Wildlife Refuge System that are permitted to

be used for such purposes as road, canals, and pipelines.” 120 Cong. Rec. 36355 (1974).

                                                   37
   The Alaska district court’s decision in Friends of Alaska Nat’l Wildlife Refuges v. Bernhardt, 463

F. Supp. 3d 1011, 1022 (D. Alaska 2020) (FANWAR), appeals filed, Nos. 20-35721 (9th Cir. Aug. 14,

2020), 20-35727, 20-35728 (9th Cir. Aug. 17, 2020) (oral argument held August 4, 2021), does not

change this analysis. For one thing, the court in that case was applying a completely different statute—

the Alaska National Interest Land Conservation Act (“ANILCA”), see 16 U.S.C. § 3192, which is not

at issue here. FANWAR, 463 F. Supp. 3d at 1022–24. In fact, the district court explicitly acknowledged

that the requirements for land exchanges under ANILCA differ from those that apply under the Refuge

Act. It noted that Congress included certain language in ANILCA “to exempt land exchanges from the

requirement of equal value or complex public interest exchanges that were required by other statutes

in place when ANILCA was enacted.” FANWR, 463 F. Supp. 3d at 1026 & n.96 (comparing the

language in ANILCA to language in the Federal Land Policy and Management Act and the Refuge

Act). Moreover, in that case, the government agreed to a land exchange that it had previously rejected.

Id. at 1018. The court applied a more onerous standard of review to the agency’s change in position

and concluded that the agency “failed to provide adequate reasoning to support the change in policy in

favor of a land exchange.” Id. at 1022. That is not the case here, as approval of a proposed land exchange

would be consistent with FWS’s previous decision to approve permits that allowed the Project to cross

the Refuge.

   In short, the Court’s conclusions regarding FWS’s authority to enter into land exchanges contradict

the plain language of the Refuge Act. The Co-owners have a high likelihood of reversing the Court’s

determination on this issue on appeal to the Seventh Circuit.

               3.      The Court erred in concluding that the EIS’s purpose and need statement
                       does not satisfy NEPA.

   The Court held that the EIS’s purpose and need statement was impermissibly narrow because it

effectively resulted in the Federal Defendants’ dismissing from detailed consideration alternatives to

the Project, including non-wires alternatives, “with the possible exception of running adjacent to the
                                                  38
Refuge.” Order at 40. The Court did not find that any other alternative was reasonable, dismissing that

consideration as “immaterial” given the parameters of the purpose and need statement. Id. In reaching

this result, the Court failed to address how the MISO planning process informed the statement of

purpose and need and the EIS’s alternatives analysis, and seems to have fundamentally misunderstood

MISO’s role in that process. Indeed, citing Simmons, 120 F.3d 664, the Court faulted the EIS as

“actually adopt[ing] one of the three utilities’ (MISO’s) [sic] stated purpose for the CHC project.”14

Order at 40. The Court concluded “MISO may have its own reasons for proposing the CHC project as

it did, but ‘[t]he public interest in the environment cannot be limited by private agreements.’” Id. at 41

(quoting Simmons).

     The Seventh Circuit’s post-Simmons case law, however, approves of the common-sense proposition

that “a reviewing agency can take an applicant’s goals for a project into account.” Env’t L. & Pol’y Ctr.

v. U.S. Nuclear Regul. Comm’n, 470 F.3d 676, 683 (7th Cir. 2006) (collecting cases);see also Protect

Our Parks, Inc. v. Buttigieg, 10 F.4th 758, 764 (7th Cir. 2021) (“the agencies must take the objectives

they are given and consider alternatives means of achieving those objectives, not alternative

objectives.”) (citing Citizens Against Burlington, Inc. v. Busey, 938 F.2d 190, 199 (D.C. Cir. 1991)

(Thomas, J.)). In Protect Our Parks, the Seventh Circuit agreed that two federal agencies did not need

to consider alternative locations for a Presidential Center proposed by the City of Chicago and a non-

profit foundation that would occupy 20 acres in a city park; “[t]he City’s objective was to build the

Center in Jackson Park, so from the Park Service’s perspective, building elsewhere was not an

alternative, feasible or otherwise.” Id.

     Similarly here, the agencies did not need to reformulate the purpose and need to allow greater

consideration of alternatives that did not increase transfer capability of the transmission system, or that


14
  This statement is factually incorrect. As the Co-owners explained previously, MISO is not a “utility” that will own the
Project, but rather, a not-for-profit regional transmission organization charged by FERC with planning and operating the
high-voltage transmission system across the Midwest in a manner that promotes the public interest. ECF No. 89 at 19.
                                                           39
did not connect the endpoints (Dubuque County, Iowa and Madison, Wisconsin) MISO specified for

the Project. Any such alternatives would have been beyond the capabilities of the Co-owners to build,

and beyond the authority of the federal agencies to require. Env’t L. & Pol’y Ctr., 470 F.3d at 684 (“[I]t

was reasonable for the Board to conclude that NEPA did not require consideration of energy efficiency

alternatives when [applicant for license] was in no position to implement such measures.”).

   The Seventh Circuit’s holding in Environmental Law and Policy Center that “where a federal

agency is not the sponsor of a project, the ‘consideration of alternatives may accord substantial weight

to the preferences of the applicant and/or sponsor in the siting and design of the project’” is dispositive.

Id. (citation omitted). In addition, this case is a far cry from Simmons, in which the agency formulated

a purpose so narrow that even a reasonable, “concrete” alternative proposed by the plaintiffs was not

considered. Simmons, 120 F.3d at 669. In contrast, the purpose and need articulated in the EIS resulted

in the robust consideration of a wide range of alternatives, with the agency dismissing from in-depth

study only those alternatives that failed to satisfy more than one of the six purpose and need criteria.

ROD005030–039; 5032 (identifying the specific goals that each rejected alternative failed to meet).

Significantly, there was no alternative that failed only the increased transfer capacity criterion.

ROD005032. The purpose and need statement appropriately considered the Co-owners’ purpose and

regional and state planning needs, and it allowed consideration of a sufficient range of alternatives. It

was not arbitrary and capricious.

   In addition, the administrative record demonstrates that, far from being based solely on the Co-

owners’ interests, the agencies’ purpose and need statement was based on years of planning by the

regional grid planning entity, MISO, and two state regulatory commissions. ROD014714–720;

ROD021257; ROD004981. The expert grid operator and state agencies determined, in proceedings

conducted publicly and with participation from multiple stakeholders, that the Project is needed in order

to bring renewable energy generated in Iowa, Minnesota, and the Dakotas to population centers in

                                                    40
Wisconsin and elsewhere. ROD014715; ROD014725. The administrative record shows that the

agencies considered both system (i.e., transmission or non-transmission) and routing alternatives and

explained, consistent with NEPA’s requirements, why these alternatives were not carried forward for

in-depth analysis. ROD007624.

   MISO began the regional planning exercise that identified the Multi-Value Project portfolio to

address the needs identified by states seeking grid improvements that would enable utilities to comply

with renewable portfolio standards. ROD013648; ROD014269; ROD014747; ROD014835. See also

Ill. Com. Comm’n, 721 F.3d at 771–72. In doing so, it brought to bear considerable expertise. Id. at 776

(acknowledging “the highly technical character of the data and analysis required to match costs and

benefits of transmission projects”). The PSCW then carefully vetted the need for the Project for a year,

in a proceeding in which two of the Plaintiffs (DALC and WWF) actively participated. The Seventh

Circuit recently recognized the expertise involved in Wisconsin’s permitting process, under which

“[t]he Commission must consider a multitude of factors such as the reliability of the power supply,

alternative sources of supply, economic factors, engineering obstacles, safety, and environmental

impact.” Driftless Area Land Conservancy v. Valcq, 16 F.4th 508, 516 (7th Cir. 2021). It was reasonable

for RUS to take into account the Commission’s final determination on whether this Project is needed.

Protect Our Cmtys. Found. v. U.S. Dep’t of Agric., 845 F. Supp. 2d 1102, 1110 (S.D. Cal.), aff’d, 473

F. App’x 790 (9th Cir. 2012). NEPA does not require the Service to “reinvent the wheel.” Hoosier

Env’t Council v. U.S. Army Corps of Eng’rs, 722 F.3d 1053, 1061 (7th Cir. 2013).

   Finally, the Court erred by dismissing as “immaterial” whether any reasonable alternative was in

fact ignored. The Court’s analysis was thus not complete because it did not consider whether the

ostensibly too-narrow purpose and need actually resulted in a too-narrow range of alternatives. See

Backcountry Against Dumps v. Chu, 215 F. Supp. 3d 966, 978 (S.D. Cal. 2015) (“However, a purpose

and need that is too narrow would not be dispositive in and of itself. If the statement were narrowly

                                                  41
drawn, but every alternative were still considered, then the purpose and need could hardly have caused

a defect in the EIS. Thus, the ultimate question is whether the purpose and need statement improperly

foreclosed consideration of alternatives.”) (citing Westlands Water Dist. v. Dep’t of the Interior, 376

F.3d 853, 867 (9th Cir. 2004)). In this respect, the Court’s analysis is flawed because it fails to account

for the well-established rule of harmless error that applies to judicial review under the APA: if the

(alleged) flaws in the agencies’ NEPA analysis were not prejudicial, then reversal is not required. 5

U.S.C. § 706 (in APA review of agency action, “due account shall be taken of the rule of prejudicial

error”).

               4.      The Court’s analysis of whether FWS complied with the Refuge Act is
                       inconsistent with the statute and fails to afford the Refuge Manager the
                       deference to which she is entitled under the law.

    The Court rejected the Federal Defendants’ argument that Plaintiffs’ claims are moot because FWS

withdrew the Compatibility Determination and ROW. The Court erred because these claims are moot

now that the agency has revoked these two decisions. Even if the Court had jurisdiction over these

claims, its decision is nonetheless erroneous because the Compatibility Determination and ROW

comply fully with the Refuge Act.

    The Court found that the Compatibility Determination and ROW violate the Refuge Act for two

reasons. First, the Court held that the Project does not qualify as a minor realignment of an existing

ROW under FWS regulations interpreting the Refuge Act because “the project is neither ‘minor’ nor

being built ‘to meet safety standards.’” Order at 24. Second, the Court held that the Project is

incompatible with the Refuge’s purposes because it found that the Project undercut goals in the

Refuge’s Comprehensive Conservation Plan (“CCP”) to promote habitat connectivity and scenic

values, id. at 29–31, and could not rely on compensatory mitigation under a regulatory exception to a

regulatory prohibition on compensatory mitigation. id. at 31–32. The Court’s analysis, however, is

inconsistent with the Refuge Act, and fails to afford deference to the Refuge Manager’s determinations

                                                    42
that the Project (1) would not materially interfere with the purposes of the Refuge, and (2) qualifies as

a minor expansion or realignment to meet safety standards, regardless of compensatory mitigation. The

Court finding that the “purposes for which the [Refuge is] established”—a term that the statute defines

to require evidence of Congressional intent at the time a Refuge is established—can instead be defined

to incorporate land management plans adopted decades later by individual Refuges. 16 U.S.C.

§ 668(ee)(10).

                         a.       The Court erred in finding that FWS’s conclusion that the Project
                                  was compatible with Refuge purposes is “arbitrary and capricious.”

     Under the Refuge Act), the Secretary of the Interior, acting through FWS, may authorize private

uses of within a refuge. As part of her broad grant of authority from Congress, the Secretary may

“permit the use of any area within the System for any purpose . . . whenever [s]he determines that such

uses are compatible with the major purposes for which such areas were established.” 16 U.S.C. §

668dd(d)(1)(A); see also id. § 668dd(d)(1)(B). 15 The Refuge Act specifically allows a refuge manager

to approve the “construction” of “powerlines,” provided they are “compatible with the purposes for

which such areas were established.” 16 U.S.C. § 668dd(d)(1)(B); see also id. § 668dd(d)(1)(A).

Compatible uses are those that “in the sound professional judgment of the [Regional] Director, will not

materially interfere with or detract from the fulfillment of the mission of the System or the purposes of

the refuge.” 16 U.S.C. § 668ee(1) (emphasis added). The regulations define the “purposes of the refuge”

to consist of “the purposes specified in or derived from the law, proclamation, executive order,

agreement, public land order, donation document, or administrative memorandum establishing,

authorizing, or expanding a refuge, refuge unit, or refuge subunit.” Id. § 668ee(10). Here, the Refuge

manager, Sabrina Chandler, appropriately found that the requested right-of-way would “not materially




15
  A decision to “initiate or permit a new use of a refuge or expand, renew, or extend an existing use” also requires a
compatibility determination. 16 U.S.C. § 668dd(d)(3)(A)(i).
                                                         43
interfere or detract from fulfillment of” the purposes of the Refuge or Refuge system. ROD007584.

That finding was not arbitrary and capricious and therefore must be upheld.

     The Court’s analysis fails to acknowledge that even new ROWs for the construction of

powerlines—not just the realignments for maintenance purposes governed by FWS regulations—are

authorized under the Refuge Act upon a finding that they do not materially interfere with Refuge

purposes. The Refuge manager may “permit the use of, or grant easements in, over, across, upon,

through, or under any areas within the System for purposes such as but not necessarily limited to,

powerlines, telephone lines, canals, ditches, pipelines, and roads, including the construction, operation,

and maintenance thereof, whenever he determines that such uses are compatible with the purposes for

which these areas are established.” 16 U.S.C. § 668dd(d)(1)(B) (emphasis added). Because this

provision mentions “construction,” it obviously contemplates more than simply the renewal of existing

uses. 16 To implement this statutory authority, FWS has created rules that identify requirements for

approving powerlines in refuges. See 50 C.F.R. § 29.21.1–8. The plain statutory and regulatory

language thus demonstrate that transmission line rights-of-way can be compatible uses of a Refuge.

     Congress’ acknowledgement of the many appropriate uses of refuges provides context for its

decision to set the threshold for approval relatively low, by prohibiting only those uses that “materially

interfere” with the purposes of the particular Refuge in which their use is proposed. 16 U.S.C.

§ 668ee(1) (emphasis added). This deliberately flexible standard is consistent with other conservation

statutes that recognize that public lands must be administered for multiple uses. Cf. Nat’l Parks

Conservation Ass’n v. Jewell, 965 F. Supp. 2d 67, 89 (D.D.C. 2013) (agency’s assessment, under Wild

and Scenic Rivers Act, of whether expansion of powerlines within a National Park “substantially

interferes with public use and enjoyment of the river’s values” is entitled to deference); Hell’s Canyon


16
  The Co-owners do not read FWS’s regulations governing “maintenance,” see 50 C.F.R. § 26.41(c), to prohibit the grant
of powerlines through the Refuge. However, to the extent those regulations can be interpreted to strip the agency of authority
Congress explicitly located in the agency, those regulations would be arbitrary and capricious.
                                                             44
All. v. U.S. Forest Serv., 227 F.3d 1170, 1178 (9th Cir. 2000) (“the mere existence of some decline in

scenic value does not establish that motorized use substantially interferes with this value” under the

Wild and Scenic Rivers Act); Or. Wild v. U.S. Forest Serv., 193 F. Supp. 3d 1156, 1173 (D. Or. 2016)

(where the Wild and Scenic Rivers Act prohibits uses that “substantially interfere” with river’s values,

“‘[t]he Court defers to the Forest Service’s reasoned judgment on the proper balance of competing uses

for the river corridor”) (citing S. Utah Wilderness All., 542 U.S. at 58); see also Cascade Forest

Conservancy v. Heppler, No. 19-cv-00424, 2021 WL 641614, at *5 (D. Or. Feb. 15, 2021) (“interfere

with” under Reorganization Plan “means something more than any hindrance, delay, or obstruction”).

   The authorized officials properly found that the Project does not materially interfere with the

purposes of the Refuge. The Refuge Act undeniably vests the Refuge Manager with the authority to

find that the Project—a “powerline” expressly contemplated as a potentially valid use within the Refuge

under the statute, 16 U.S.C. § 668dd(d)(1)(B)—is “compatible with” (i.e., does not “materially”

interfere with, id. § 668ee(1)), the Refuge’s purpose as a breeding ground for certain wildlife species.

The NEPA documents and biological opinion confirm that any impacts on the Refuge do not amount

to material interference, and the Refuge Manager expressly stated in the Compatibility Determination

that the Project would not materially interfere with Refuge purposes based on a thorough examination

of impacts to resident wildlife, vegetation and other resources. ROD007584; ROD007370. FWS

reasonably found that the impacts of a relocated, little more than a mile crossing with a right-of-way

that is 110’ wider than the existing lines occupy—collocated with other rights-of-way, and with 17

fewer towers than the existing lines require—on the 240,000-acre Refuge would not “materially

interfere with” the Refuge’s purposes of establishing a breeding ground and habitat for certain bird and




                                                  45
other wildlife species. ROD007584. 17 That determination stands on its own irrespective of the

compensatory mitigation.

    In reaching the conclusion that the relocated right-of-way would not “materially interfere with”

Refuge purposes, based on the EIS, biological opinion, and 17-page analysis in the Compatibility

Determination, FWS officials appropriately exercised “sound professional judgment” based on

statutorily-prescribed factors. ROD007609, 7650. These factors include how habitat fragmentation

would be reduced under the proposed realignment as compared to the status quo; how the noise from

the transmission line would, in its new location, be indistinguishable from “the ambient noise associated

with the railroad and Oak Road”; how “permanent displacement of [wildlife] species is not

anticipated”; and that any forest-obligate species displaced by permanently cleared areas would have

habitat “in other areas near or adjacent to the right-of-way.” ROD007579–582. Those analyses also

showed:

        •    that granting the right-of-way along the Nelson Dewey route, subject to enforceable

             mitigation measures, was compatible with Refuge purposes. ROD007577 (incorporating

             analysis in EIS); ROD007584 (finding proposed use compatible);

        •    that given the disturbed condition of the new right-of-way for much of its length (i.e.,

             because the Project would be aligned along an existing road and railroad within the Refuge),

             the proposed route would be much more protective of Refuge resources than an alternative

             built in the existing location. ROD007581–82 (“A more contiguous array of habitats would

             exist on the floodplain” after realignment); and




17
   The Court found that the Co-owners’ commitment to revegetate the existing right of way was “compensatory mitigation”
that is prohibited under FWS regulations. Order at 31-32. This is incorrect because the Co-owners’ commitment to
revegetate the rights-of-way after the lines are removed is a consequence of the relocation, not an attempt to compensate
for the new right-of-way. Moreover, to the extent FWS considered off-site compensatory mitigation as part of its analysis,
that consideration was appropriate, see infra Section III(A)(4)(b).
                                                           46
       •     that the route is less damaging than an alternative under which the Co-owners might exercise

             their easement rights to build out the new line within their existing rights-of-way.

             ROD007584.

   The Refuge Manager’s judgment, concurred in by the Regional Director and informed by

substantial analysis, is entitled to deference. Audubon Soc’y of Portland v. Zinke, No. 17-cv-00069,

2019 WL 8371180, at *26 (D. Or. Nov. 18, 2019) (“The Court is not to substitute its scientific judgment

for that of the Service, especially with ‘respect to scientific matters within the purview of the agency’”),

appeals filed sub nom. Audubon Soc’y of Portland v. Bernhardt, No. 20-35513 (9th Cir. June 8, 2020)

and Tulelake Irrigation Dist. v. U.S. Fish & Wildlife Serv., No. 20-35515 (9th Cir. June 8, 2020)

(citations omitted); see also Del. Audubon Soc. v. Salazar, 829 F. Supp. 2d 273, 289 (D. Del. 2011)

(plaintiffs failed to show that compatibility determination was not product of “sound professional

judgment” where NEPA analysis was adequate and plaintiffs offered no other basis for challenging that

judgment).

   To the extent that Plaintiffs’ Refuge Act claim is not constitutionally moot, Plaintiffs failed to meet

their burden on that claim. The Court improperly substituted its own policy judgment for that of FWS’,

rather than according the Refuge Manager the deference to which she is owed not only under the APA,

but also under the Refuge Act, which allows land managers to take action based on “sound professional

judgment.” Here, the Refuge Manager relied on that judgment in finding that the Project “will not

materially interfere with or detract from the fulfillment of the mission of the System or the purposes of

the refuge.” 16 U.S.C. § 668ee(1). See Highway J Citizens Grp., 349 F.3d at 953; Ind. Forest All., Inc.

v. U.S. Forest Serv., 325 F.3d 851, 859 (7th Cir. 2003) (“If an agency considers the proper factors and

makes a factual determination on whether the environmental impacts are significant or not, that decision

implicates substantial agency expertise and is entitled to deference.”); Sierra Club v. Marita, 46 F.3d

606, 621 (7th Cir. 1995) (agency “is entitled to use its own methodology, unless it is irrational”). The

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Refuge Manager’s determination should be upheld unless “arbitrary and capricious.” Animal Lovers

Volunteer Ass’n, v. Cheney, 795 F. Supp. 994, 1000 (C.D. Cal. 1992) (“The [Administrative Procedure

Act] and [National Wildlife Refuge System Administration Act] do not give the Court the authority to

evaluate whether the agency’s decision was the wisest decision.”). In fact, the “very use of the term

sound professional judgment constitutes a grant of authority by Congress to the FWS.” Stevens Cnty.

v. U.S. Dep’t of the Interior, 507 F. Supp. 2d 1127, 1132 (E.D. Wash. 2007); see also Or. Wild, 193 F.

Supp. 3d at 1173 (where Wild and Scenic Rivers Act prohibits uses that “substantially interfere” with

river’s values, “[t]he Court defers to the Forest Services’ [sic] reasoned judgment on the proper balance

of competing uses for the river corridor.”) (citing S. Utah Wilderness All., 542 U.S. at 58).

                             b.       The Court erred in concluding that the Project fails to qualify for a
                                      regulatory provision that controls minor realignment of an existing
                                      ROW.

       Under a regulation FWS has promulgated interpreting its Refuge Act authority, the Refuge Manager

may approve any use that constitutes “maintenance of an existing right of way,” including a “minor

expansion or minor realignment [of the right of way] to meet safety standards,” when certain specified

conditions are met. 18 Here, the Compatibility Determination, which explains at length how the

proposed line will increase habitat connectivity in comparison to existing rights-of-way, ROD007581–

82 (which also afford the Co-owners the ability to build the line, ROD007569, 7582, 7584),


18
     50 C.F.R. § 26.41(c) reads as follows:
                    Existing right-of-ways. We will not make a compatibility determination and will deny
                    any request for maintenance of an existing right-of-way which will affect a unit of the
                    National Wildlife Refuge System, unless: the design adopts appropriate measures to
                    avoid resource impacts and includes provisions to ensure no net loss of habitat quantity
                    and quality; restored or replacement areas identified in the design are afforded
                    permanent protection as part of the national wildlife refuge or wetland management
                    district affected by the maintenance; and all restoration work is completed by the
                    applicant prior to any title transfer or recording of the easement, if applicable.
                    Maintenance of an existing right-of-way includes minor expansion or minor
                    realignment to meet safety standards.
The exception allows FWS to accept compensatory mitigation, which the agency otherwise views as an impermissible basis
for deeming a use compatible under the Refuge Act, under certain specified circumstances. 50 C.F.R. § 26.41(c);
ROD007584.
                                                              48
demonstrates that the Project meets the statutory criteria for compatible uses without the need to qualify

for this regulatory maintenance exception. See supra Section III.A.4. The Compatibility Determination

also establishes, however, that the proposed use fell within that exception. Neither determination was

“arbitrary and capricious,” and therefore the Court’s decision is erroneous. Sauk Prairie Conservation

All. v. U.S. Dep’t of the Interior, 944 F.3d 664, 678 (7th Cir. 2019), cert. denied sub nom. Sauk Prairie

Conservation All. v. Dep’t of the Interior, 140 S. Ct. 2764 (2020) (finding National Park Service’s

“application of expertise” entitled to deference).

     The regulations do not define the term “minor,” and it was reasonable for the Refuge Manager to

find that, for a Refuge that extends 261 miles, a realignment that moves the right-of-way only 1800 feet

at one end and 6000 feet at the other, and adds a net total of only 2.5 acres of disturbance as compared

to the existing right-of-way, qualifies as “minor.” 19 In addition, any requirement that the realignment’s

purpose is “to meet safety standards” is satisfied here because the new configuration reduces safety

concerns in the town of Cassville by avoiding the need to route transmission line infrastructure “near

schools, churches and other public gathering places.” ROD007581. FWS explained that the Project is

a minor realignment to meet safety standards “due to the relatively short distance the transmission lines

would be moved . . . and the ability to co-locate adjacent to existing disturbed areas” and because it

would “significantly reduce safety concerns in the town of Cassville” by avoiding “transmission line

infrastructure running into and through Cassville.” Id. See Snoqualmie Valley Pres. All. v. U.S. Army

Corps of Eng’rs, 683 F.3d 1155, 1162 (9th Cir. 2012) (project to replace dam qualified for nationwide

permit for replacement of structures to meet safety standards where “excessive flooding rationally




19
  FWS regulations require it to look at this smaller, net difference instead of the absolute acreage affected by the new line
because the existing lines in the Refuge are a pre-existing use. 50 C.F.R. § 25.21(h) (“When we prepare a compatibility
determination for re-authorization of an existing right-of-way, we will base our analysis on the existing conditions with the
use in place, not from a pre-use perspective.”).
                                                            49
qualifies as a ‘public safety’ concern”). The Court erred in second-guessing the FWS’s sound

professional judgment.

    The FWS buttressed its decision by describing the Co-owners’ commitment to donate a parcel of

land within the Refuge boundaries that had been identified by the agency as a high priority for

acquisition purposes due to its habitat value. But Plaintiffs have not demonstrated that the Refuge

Manager relied on the donation parcel in order to find the proposed use compatible. Moreover, as the

Refuge Act does not support FWS’s ban on the use of compensatory mitigation. Indeed, to the extent

that the ban attempts to alter the statutory standard for compatibility Congress prescribed for powerlines

and other uses prioritized in the statute, that interpretation is itself suspect.

                        c.      The Court erred when it looked to the Comprehensive Conservation
                                Plan to determine “the major purpose for which the Refuge was
                                established.”

    A proposed powerline right-of-way must be compatible with “the purposes for which these areas

are established.” 16 U.S.C. § 668dd (d)(1)(B); see also § 668ee(1) (defining “compatible use” as one

that will not “in the sound professional judgment of the Director, . . . materially interfere with or detract

from the fulfillment of the mission of the System or the purposes of the refuge.”). The phrase “purposes

of the refuge” is defined to include “the purposes specified in or derived from the law, proclamation,

executive order, agreement, public land order, donation document, or administrative memorandum

establishing, authorizing, or expanding a refuge, refuge unit, or refuge subunit.” 16 U.S.C. § 668ee(10).

Thus, Congress has prescribed the universe of documents to which a court may properly look to

determine a refuge’s purposes. A CCP is not one of them.

    Here, the purposes of the Refuge would include, first (and as the Court duly recognized, Order at

27), the purpose specified in the statute that created the Refuge in 1924: to provide “a refuge and

breeding place for migratory birds, as well as fish, animals, and plants.” 16 U.S.C. § 723; see also ROD

007568 (Compatibility Determination, listing Refuge purposes). Because of extensive navigation

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operations at the river by the Corps, the legislation was explicit that nothing in it should be construed

to “authoriz[e] any interference with the operations of the Department of the Army in carrying out any

project now or hereafter adopted for the improvement of said river. 16 U.S.C. § 731. Arguably, the

statutory definition of “purpose” would also incorporate the deed restrictions in lands acquired by FWS

in the process of expanding the Refuge (i.e., the “agreement” pursuant to which those lands were

acquired). 20 In contrast, nothing in the Refuge Act or anything interpreting it suggests that the Refuge’s

purposes should include objectives in a CCP published by only one unit of the National Wildlife Refuge

System 82 years after Congress has established the Refuge. That is not a “law, proclamation, executive

order, agreement, public land order, donation document, or administrative memorandum establishing

authorizing, or expanding a refuge, refuge unit, or refuge subunit.” 16 U.S.C. § 668ee(10). It was

arbitrary, for example, for the Court to determine that one of the Refuge’s purposes is to “maintain and

improve the scenic qualities” of the area based on the CCP.21

     The Court’s interpretation of the Refuge Act suffers from multiple infirmities and should be stayed

pending appeal.

         B.       A stay will not irreparably harm the Plaintiffs.

     As discussed supra Section II.B.1, a stay will not result in irreparable or imminent harm to

Plaintiffs. At this time, the Project cannot cross the Refuge through a new or realigned right-of-way

because FWS has revoked the Compatibility Determination and ROW permit that it previously issued



20
   Because FWS purchased this land in 2000 subject to the Co-owners’ existing rights-of-way, those are incorporated into
the Refuge purposes. FWS00028 (warranty deed dated March 15, 1999, listing reservations); ECF Nos. 91-2 & 91-3 (rights-
of-way listed in deed). FWS, aware of these rights-of-way when it acquired the lands, must be deemed to have determined
that they do not interfere with the Refuge’s purposes. 16 U.S.C. § 724(b)(1) (allowing Secretary to add lands to the Refuge
that are burdened by easements provided he or she “determines that any such reservation or exception will in no manner
interfere with the use of the area for the purposes of this chapter”).
21
   The Court’s discernment of “purposes” from the CCP is also selective; the first “major objective” listed in its 2006 Upper
Mississippi River National Wildlife and Fish Refuge CCP is to “acquire from willing sellers 15,000 acres of land within
the approved boundary.” ROD028194. In addition, the CCP for the Refuge, adopted in 2006, lists conservation-oriented
objectives, but acknowledges that there may be times when these resource priorities must be subordinated to other priorities,
including “health, safety, and societal needs which must be addressed.” ROD028363. It then provides as an example “a
right-of-way expansion for a utility or highway project.” Id.
                                                            51
and has not acted on the Co-owners’ application for a land exchange. Accordingly, even if the Court

stays whatever declaratory and injunctive relief it issues as part of its final judgment, there will be no

irreparable harm to the Plaintiffs within the Refuge, because the Co-owners do not currently have

federal authorization to construct the Project through a new or realigned right-of-way in the Refuge.

    Likewise, if the Court enjoins construction of the Project outside the Refuge (notwithstanding the

fact that it lacks jurisdiction to do so, see supra Section II.A), a stay of that relief will not harm the

Plaintiffs. As noted, the only permits the Federal Defendants issued for the Project outside the Refuge

are from the Corps, which authorize a de minimis amount of permanent fill (0.02 acres) and temporary

fill (13.6 acres) in jurisdictional wetlands. See supra Section II.B.3. But the Court ruled in the Federal

Defendants’ and the Co-owners’ favor on Plaintiffs’ claims against the Corps, so it cannot use this de

minimis impact to jurisdictional wetlands as a basis for enjoining the entire Project. In any event, the

Plaintiffs simply cannot demonstrate that, absent an injunction, these de minimis impacts to wetlands

or construction of the Project generally will cause them to suffer irreparable injury. Id.

        C.      A stay will avoid irreparable harm to the Co-owners.

    As discussed supra Section II.B, there is a significant likelihood of irreparable harm to the Co-

owners if the Court’s judgment remains in effect pending appeal. Any relief, declaratory or injunctive,

that prevents the Project from crossing the Refuge while an appeal is pending would likely force the

Co-owners to defer construction work within the Refuge until October 2023 at the earliest, making it

unlikely that the Project will meet its December 2023 in-service date. Jan. 31, 2022 Decl. of Shawn

Mathis ¶¶ 8–9. Similarly, an injunction halting construction across the entire Project while the Federal

Defendants correct the (alleged) deficiencies in their environmental assessment will almost certainly

last longer than six months, which would significantly increase construction costs, prevent ATC from

recovering a profit on the capital it has invested in the Project, and likely lead to the Project missing its

December 2023 in-service date.

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       D.      A stay is in the public interest.

   As discussed supra Section II.B.3, allowing whatever relief the Court orders to remain in effect

pending appeal will severely harm the public interest. The Court has already issued a declaration that

the Project cannot cross the Refuge by ROW permit or land exchange. Allowing this relief to remain

in effect pending appeal would delay the start date for construction within the Refuge by at least year,

likely leading to a delay in the Project’s in-service date. And if the Court enjoins construction along

the entire Project route, this will almost certainly lead to a construction delay of longer than six months,

further jeopardizing the Project’s in-service date. This will, in turn, harm the public interest by

preventing the public from realizing the Project’s significant economic, reliability, and environmental

benefits. Energy costs will remain higher than they otherwise would, harming utilities and ratepayers

alike. The grid will be less reliable and secure, creating the potential for exceedances of reliability

standards on the existing system and potential outages. And perhaps most importantly, thousands of

megawatts of new and existing renewable generators will be at risk of having their output curtailed or

cancelling their projects altogether, hindering regional efforts to promote access to low-cost, renewable

energy and reduce regional greenhouse gas emissions.

       E.      In the alternative, the Court should grant an administrative stay of 21 days to allow
               the Co-owners to seek a stay from the Seventh Circuit.

   If the Court is unwilling to stay its judgment pending appeal, the Co-owners request that the Court

grant an administrative stay for a period of 21 days, which will provide them with the time needed to

seek further relief with the Seventh Circuit. The Court “has broad discretion to stay proceedings as an

incident to its power to control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997); see also

Munson v. Butler, 776 F. App’x 339, 342 (7th Cir. 2019). That power applies “especially in cases of

extraordinary public moment,” when a party “may be required to submit to delay not immoderate in

extent and not oppressive in its consequences if the public welfare or convenience will thereby be

promoted.” Clinton, 520 U.S. at 707 (modifications omitted). To determine whether a stay is warranted
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courts consider, among other things, whether a stay would “unduly prejudice or tactically disadvantage

the non-moving plaintiffs” and “reduce the burden of litigation on the parties and on the court.” Bouas

v. Harley-Davidson Motor Co. Grp., LLC, No. 3:19-CV-1367, 2020 WL 2334336, at *1 (S.D. Ill. May

11, 2020) (quoting Nicholson v. Nationstar Mortg. LLC of Del., No. 17-cv-1373, 2018 WL 3344408 at

*9 (N.D. Ill. July 6, 2018)); see also Kent v. Vilsack, No. 3:21-CV-540, 2021 WL 6139523, at *2 (S.D.

Ill. Nov. 10, 2021). As discussed above, the balance of harms and the public interest weigh strongly in

favor of a stay. An administrative stay of 21 days to allow the Co-owners to seek a stay from the

Seventh Circuit would also reduce the burden of litigation on the parties and on the Court.

IV.      THE COURT’S FINAL JUDGMENT SHOULD ENTER DECLARATORY
         JUDGMENT AND REMAND THE ROD WITHOUT VACATUR OR INJUNCTIVE
         RELIEF

      For the foregoing reasons, the Court should enter declaratory judgment consistent with the Court’s

opinion and order on summary judgment and remand the ROD without vacatur or injunctive relief. In

addition, the Court should dissolve the preliminary injunction and should grant either a stay pending

appeal or an administrative stay of 21 days to allow the Co-owners to request such a stay from the

Seventh Circuit.

      The Co-owners’ proposed language for a final judgment is attached to this submission.



DATED: January 31, 2022                                 Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

       I hereby certify that on January 31, 2022, I electronically filed the forgoing document with

the Clerk of Court using the Court’s ECF system, which will serve the document on all counsel of

record registered for electronic filing in the above-captioned proceeding.



Dated: January 31, 2022
                                                        /s/ Thomas C. Jensen
                                                        Thomas C. Jensen




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